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                                MIDDLE DISTRICT OF FLORIDA
                                      Orlando Division

In re:

EXCELETECH COATING AND                                                  Chapter 11
APPLICATIONS, LLC,                                                      Case No. 6:18-bk-00263-KSJ
                                                                        Hon. Karen S. Jennemann
         Debtor.
                                                      /

 SUPPLEMENT TO MOTION AND BRIEF FOR ORDER UNDER 11 U.S.C.
 §1113(f) COMPELLING DEBTOR TO COMPLY WITH REQUIREMENTS
OF COLLECTIVE BARGAINING AGREEMENT AND FOR OTHER RELIEF

         The International Painters and Allied Trades Fringe Benefit Funds 1 (the

“National Funds”) and Southern Painters District Council 78 Fringe Benefit Funds 2

(the “Local Funds”)(hereinafter, collectively, the “Funds”) by and through their

counsel, state for their Supplement to their Motion and Brief for Order Under 11

U.S.C. §1113(f) Compelling Debtor to Comply with Requirements of Collective

Bargaining Agreement and for Other Relief as follows:

         1.       Debtor initiated the above-captioned Chapter 11 bankruptcy by the

filing of its voluntary petition under Chapter 11 of the United States Bankruptcy

Code on January 17, 2018 (the “Petition Date”) and has thereafter continued to act

as debtor-in-possession.


1
  The International Painters and Allied Trades Fringe Benefit Funds consist of: the International Painters and Allied
Trades Industry Pension Fund, the Finishing Trades Institute, the Political Action Together Fund and the Painters
and Allied Trades Labor Management Cooperation Initiative.
2
  The Southern Painters District Council 78 Fringe Benefit Funds consist of: the Southern Painters Welfare Fund and
the District Council 78 Finishing Trades Institute.
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      2.     On March 30, 2018, the Funds filed their Motion and Brief for Order

Under 11 U.S.C. §1113(f) Compelling Debtor to Comply with Requirements of

Collective Bargaining Agreement and for Other Relief (the “Motion”) [Docket No.

72]. The Motion is set to be heard on June 13, 2018 at 2:30 p.m.

      3.     The Motion alleges, among other things, that (i) Debtor continues to

operate its business as a contractor, and continues to employ individual painters,

(ii) Debtor is a party to a collective bargaining agreement (the “CBA”) which

obligates it to, among other things, pay fringe benefit contributions to the Funds for

and on behalf of individual painters who provide covered work to Debtor on its

various projects, and (iii) Debtor has not paid all of its contractually required fringe

benefit contributions since at least 2012, and has not paid any contributions or

remitted contribution reports since 2014.

      4.     When the Motion was filed, the known amount of the fringe benefit

contributions, interest, costs, and liquidated damages owed for the time period

January 1, 2012 through December 31, 2014, only, was $161,486.29 with respect

to the Local Funds, and $136,234.90 with respect to the National Funds. However,

the Funds were not able to determine the full amount or priority status of their

claims until an audit of Debtor’s payroll books and records was performed.

      5.     Accordingly, the Motion requested that this Court, pursuant to 11

U.S.C. §1113(f), compel Debtor to (i) submit all past due post-petition fringe


                                            2
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benefit contribution reports, (ii) immediately pay all past due post-petition fringe

benefit contributions, (iii) submit books and records for an audit covering the time

period January 1, 2015 forward, and (iv) timely submit all future post-petition

fringe benefit contribution reports and timely pay all post-petition fringe benefit

contributions going forward.

      6.     Due to certain developments that have occurred since the Motion was

filed, the Funds file this Supplement to advise the Court of such developments, and

revise their requested relief accordingly.

      7.     First, the Funds conducted a Bankruptcy Rule 2004 Examination of

Debtor’s president, Lawrence Muzia (“Muzia”) on May 16, 2018. At the 2004

Examination, Muzia confirmed, among other things, the following:

             a.     Debtor is a party to the CBA;

             b.     Debtor continues to operate it business post-petition as debtor-

      in-possession;

             c.     Debtor continues to employ individual painters who perform

      work covered under the CBA, and;

             d.     Debtor has not paid fringe benefit contributions for a significant

      period of time pre-petition, nor paid post-petition fringe benefit

      contributions.




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      8.     Debtor’s non-payment of fringe benefit contributions is apparently

based on Muzia’s belief that Debtor is obligated only to pay fringe benefit

contributions on behalf of union members, rather than on behalf of all employees

that perform work covered by the CBA. This of course is incorrect. The CBA

requires that contributions be made on behalf of employees who perform work

covered by the CBA. “As a matter of law, collective bargaining agreements may

require employers to contribute to funds for all employees, not just employees who

are members of the union.” Trustees of B.A.C. Local 32 Ins. Fund v. Fantin

Enterprises, Inc. 163 F.3d 965, 969-970 (6th Cir. 1998), citing Teamster's Local

348 Health and Welfare Fund v. Kohn Beverage Co., 749 F.2d 315, 318 (6th

Cir.1984); see also Manning v. Wiscombe, 498 F.2d 1311, 1313 (10th Cir.1974).

Indeed, courts have held that collective bargaining agreements and corresponding

trust agreements substantially similar to those entered into by Debtor in this case,

are prohibited as a matter of law from distinguishing between union and non-union

members. See D.E.W., Inc. v. Local 93, Laborers Int’l Union of North America,

957 F.2d 196, 201-202 (5th Cir. 1992).

      9.     Second, Debtor provided certain payroll books and records for the

time period January 1, 2015 through April 14, 2018 only and the Funds auditors

have prepared audit reports covering that time period. The audit report with




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respect to the Local Funds is attached hereto as Exhibit A, and the audit report

with respect to the National Funds is attached hereto as Exhibit B.

        10.      Third, Debtor provided notice to the International Union of Painters

and Allied Trades District Council 78 (the “Union”) that it was terminating the

CBA effective June 30, 2018.                   The Union has elected to recognize Debtor’s

termination of the CBA, and therefore does not consider Debtor bound by the

terms thereof subsequent to June 30, 2018. 3

        11.      That said however, the Debtor remains bound by the CBA through

June 30, 2018 and has not taken any steps under 11U.S.C. §1113 to reject the

CBA, nor has Debtor attempted to implement interim changes in the terms,

conditions, wages, benefits, or work rules provided by the CBA pursuant §1113(e).

        12.      Based upon these developments, the Funds hereby supplement the

Motion to advise the Court of these developments and to request that this Court, (i)

pursuant to 11 U.S.C. §1113(f), compel Debtor to comply with the current

requirements of the CBA by submitting post-petition fringe benefit contribution

reports to the Funds for April, May, and June 2018 and timely paying any fringe

benefit contributions disclosed on those reports, and (ii) pursuant to 11 U.S.C. §§

503(b)(1), allow the Funds administrative post-petition claims from the Petition



3
 Recognition of the CBA’s termination is not intended to waive, or impair in any way, the Funds’ rights to pursue
or enforce claims relating to employer withdrawal liability arising under the Employee Retirement Income Security
Act, 29 U.S.C. §1001, et. seq. and applicable law, with any and all such rights being expressly preserved.

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Date through the CBA’s termination date of June 30, 2018, and compel immediate

payment of such claims.

      13.     The Funds’ administrative post-petition claims, through April 14,

2018 only, total $65,745.90 with respect to the Local Funds, and $51,349.83 with

respect to the National Funds (see Exhibits A and B).

      14.     As stated above, the audits are based on the payroll books and records

Debtor has produced, but despite repeated requests, Debtor has not provided fringe

benefit contribution reports, information on trade classifications of its employees,

or any other information or documentation that would delineate the number of

hours of covered work that Debtor’s employees performed. Case law holds that a

court may “rely on an audit or an auditor’s report to prove that defendant

employers did not make required contributions to funds.” Annuity, Welfare &

Apprenticeship Skill Improvement & Safety Funds of Int'l Union of Operating

Engineers, Local 15, 15A, 15C & 15D, AFL-CIO v. Eastport Excavation &

Utilities Inc., 3 F. Supp. 3d 204, 216 (S.D.N.Y. 2014), citing Hanley v. Orient

Beach Club, Inc., 1998 WL 65990, at *5 (S.D.N.Y. Feb. 18, 1998). “[T]he opinion

of an auditor is a sufficient basis for an award of a specific amount of damages” if

it is ‘adequately explained and credited by the Court.’” Gesualdi v. Tri-State Soil

Sols., LLC, No. CV 13-5429 JS AKT, 2015 WL 5604072, at *10 (E.D.N.Y. Aug.

3, 2015) quoting Trs. of the Plumbers Local Union No. 1 Welfare Fund v. Philip


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Gen. Constr., No.05 Civ. 1665, 2007 WL 3124612, at *10 (E.D.N.Y. Oct. 23,

2007). 4

         15.      The Debtor continues to employ employees who are engaged in work

covered by the CBA and remains bound by its terms through June 30, 2018.

Therefore, the extent of the Funds’ post-petition claim, through the CBA’s

termination date of June 30, 2018 will increase.5

         WHEREFORE, the Funds request that this Court enter an order in the form

attached hereto as Exhibit 1, compelling Debtor to (i) timely submit all future

post-petition fringe benefit contribution reports and timely pay all post-petition

fringe benefit contributions through the CBA’s termination date of June 30, 2018,

and (ii) allow the Funds administrative post-petition claims from the Petition Date

through June 30, 2018 pursuant to 11 U.S.C. §§ 503(b)(1), and compel immediate

payment of such administrative post-petition claims.



                                              Signatures on next page


4
  The Funds note that, to the extent that Debtor disputes the employees and hours included in the audits, it is
Debtor’s burden to come forward with the precise amount of covered work to be performed by its employees or
come forward with evidence to challenge the accuracy of the Funds’ calculations. See Mich. Laborers' Health Care
Fund v. Grimaldi Concrete, Inc., 30 F.3d 692, 695–96 (6th Cir.1994); Brick Masons Pension Trust v. Indus. Fence
& Supply, Inc., 839 F.2d 1333, 1337–39 (9th Cir.1988); Combs v. King, 764 F.2d 818, 825–27 (11th Cir.1985). To
date, despite repeated requests, Debtor has not provided any information regarding either employee classification, or
hours of covered work performed.
5
  The Funds note that in addition to their post-petition administrative claims, they also hold priority claims for the
time period July 23, 2017 through January 16, 2018 pursuant to 11 U.S.C. §507(a)(5) in the amount of $112,392.40
with respect to the Local Funds, and $87,782.36 with respect to the National Funds (see Exhibits A and B). The
Funds intend to amend their proofs of claims to reflect the additional indebtedness set forth on Exhibits A and B,
including those priority amounts set forth above.

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                                Respectfully submitted,

                                SUGARMAN & SUSSKIND, P.A.

                                      /s/ D. Marcus Braswell, Jr.
                                D. MARCUS BRASWELL, JR. (146160)
                                Local Counsel for the Funds
                                100 Miracle Mile, Suite 300
                                Coral Gables, FL 33134
                                305-529-2801
                                mbraswell@sugarmansusskind.com

                                -and-

                                MADDIN, HAUSER, ROTH & HELLER, P.C.

                                      /s/ David M. Eisenberg
                                CRAIG E. ZUCKER (P39907)
                                DAVID M. EISENBERG (P68678)
                                Counsel for the Funds
                                28400 Northwestern Hwy., 2nd Floor
                                Southfield, MI 48034
                                248-354-4030
                                czucker@maddinhauser.com
                                deisenberg@maddinhauser.com

                        CERTIFICATE OF SERVICE
      I CERTIFY that on this 6th day of June, 2018, a true and correct copy of the
foregoing Rule 2004 Notice has been served through the CM/ECF system to all
registered CM/ECF recipients.
                                             By: _/s/ D. Marcus Braswell, Jr.
                                                 D. MARCUS BRASWELL, JR.




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                                                 EXHIBIT 1

                                MIDDLE DISTRICT OF FLORIDA
                                      Orlando Division

In re:

EXCELETECH COATING AND                                                 Chapter 11
APPLICATIONS, LLC,                                                     Case No. 6:18-bk-00263-KSJ
                                                                       Hon. Karen S. Jennemann
         Debtor.
                                                     /


                ORDER (i) COMPELLING DEBTOR TO COMPLY
            WITH REQUIREMENTS OF COLLECTIVE BARGAINING
                  AGREEMENT UNDER 11 U.S.C. §1113(f) AND
         (ii) ALLOWING PAYMENT OF ADMINISTRATIVE EXPENSE
                CLAIMS UNDER 11 U.S.C §503(b)(1) AND 507(a)(2)

         THIS MATTER is before the Court on the motion (the “Motion”)[Docket

No. 72], and subsequently filed supplement thereof (the “Supplement”) [Docket

No.      ], of the International Painters and Allied Trades Fringe Benefit Funds 6 (the

“National Funds”) and Southern Painters District Council 78 Fringe Benefit Funds 7

(the “Local Funds”)(hereinafter, collectively, the “Funds”) for an order under 11

U.S.C. §1113(f) (i) compelling Exceletech Coating and Applications, LLC, debtor

in possession, to comply with the current requirements of its collective bargaining

6
  The International Painters and Allied Trades Fringe Benefit Funds consist of: the International Painters and Allied
Trades Industry Pension Fund, the Finishing Trades Institute, the Political Action Together Fund and the Painters
and Allied Trades Labor Management Cooperation Initiative.
7
  The Southern Painters District Council 78 Fringe Benefit Funds consist of: the Southern Painters Welfare Fund and
the District Council 78 Finishing Trades Institute.
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agreement, (ii) allowing the Funds post-petition administrative claims under 11

U.S.C. §§ 503(b)(1), and (iii) compelling immediate payment thereof. The Court

has reviewed the Motion and the Supplement, is fully advised in the premises, and

finds good cause for entry of this order;

      NOW THEREFORE;

      IT IS HEREBY ORDERED AND ADJUDGED as follows:

      1.      The Motion and Supplement are hereby granted pursuant to the terms

contained in this Order.

      2.      Debtor Exceletech Coating and Applications, LLC (“Debtor”) shall

continue to timely abide by all obligations under its applicable collective

bargaining agreement (the “CBA”) through the CBA’s termination date of June 30,

2018. In this regard, Debtor shall continue to timely abide by all obligations under

the CBA which otherwise obligates Debtor to the Funds, including, but not limited

to, preparing and timely submitting all required fringe benefit contribution reports

and making timely payment of all post-petition fringe benefit contributions due

thereon, including any and all liquidated damages, late charges and further

applicable charges in the event of late payment.

      3.      The Funds known post-petition administrative expense claims through

April 14, 2018 only, in the amounts $65,745.90 with respect to the Local Funds,

and $51,349.83 with respect to the National Funds (collectively, the “Allowed


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Administrative Claims”), are hereby allowed in their entirety pursuant to 11 U.S.C.

§§ 503(b)(1) and allowed the applicable priority pursuant to 11 U.S.C. §507(a)(2),

and shall be paid immediately.

      4.      All additional post-petition amounts accrued and unpaid are allowed

as administrative expense claims pursuant to 11 U.S.C. §§ 503(b)(1) in an amount

to be determined either based upon Debtor’s contractually required fringe

contribution reports and audit, or based upon further audit of Debtor’s payroll

records in the event that (i) Debtor does not comply with the provisions of

paragraph 2 above, or (ii) the Funds audits are amended in response to newly

provided and/or discovered documentation or information which evidence accrual

of additional fringe benefit contributions due and owing.

      5.      Notwithstanding any provision of this order to the contrary, and

without modification of the Debtor’s obligations under this order as set forth

herein, no provision of this order, any other order entered by this Court, or any

Chapter 11 plan, shall otherwise prejudice or impair the Funds’ rights to pursue or

enforce (i) any rights or claims against any non-debtor third parties who are, or

may be, liable for any portion of any indebtedness due the Funds, and (ii) any

statutory claims under applicable law, including, but not limited to, construction

lien and bond claims and any liability for employer withdrawal liability under the




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Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §1001,

et. seq.




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                         EXHIBIT A
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     Novak          ~rancella
              LLC   CERTIFIED PUBLIC ACCOUNTANTS




       District Council 78 Employee Benefit Funds




                                      PAYROLL COMPLIANCE UEVIEW

                                                           REPORT


       EMPLOYER:              Exceletech Coatings and Applications LLC

       ADDRESS:               221N.1-1\vy 27, Suite I, Clermont, FL 34711

       DATE PAYROLL REVIEW COMPLETED:                                       November 4, 20 l 5

       REVIEW PERIOD:                                         January I, 2012 through April 14, 20!8

       EMPLOYER REPRESENTATIVE, lF ANY, PRESENT AT THE TIME OF
       THE PAYROLL REVIEW:           Lawrence Muzia

       LOCAT!ON OF EXAMINATION:                               Same as Above
                                                              Completed at Novak Francella, LLC.

       DOES THE EMPLOYER PAY CONTRIBUTIONS ON:

       Non Bargaining Unit Employees:                         No              If yes, is there a Participation agreement?

       Owner/Operator:                                        No              If yes, is there a Owner/Operator agreement?

       RESULTS OF PAYROLL COMPLIANCE REVIEW:·

          A) Contributions due on all hours worked
          8) Contributions due on all employees performing covered work



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         Novak IrancellaLLC
                                  1
                                CrRTIFIED PUBLIC ACCOUNTANTS




     District Council 711 Employee Bencnt Funds



                                                            l'A \'ROLL COMPLIANCE RF.VIEW

                                                                              SUMMARY




     EM Pl.OYER:        Excelctech Coatings and Applications LLC

     REVIEW PERIOD January 1,.2012 through April 14, 2018


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     LocHI 78 PAC

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     TOTAL AMOUNT OUE:                s   72,065.35    s   34,929.24          $    56,SJK.13       $ 740,965.37         s    127,945.66          $    72,869.87         s 1,105,313.63


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Di~trict       Council 78 Employee Benefd Funds


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ITrav!t....,. Jc:no        I :;7J-84.6;26 I          B              HOL'RS               '.<09.00                94.50                                                                                                                                                                                                                               303.~
                                                                   WAGES                                                                                                                                                                                                                                                                   .s
IVo;ps, Jose               I   581-r-ssss       I    B         ; HOURS                   124.00                  32.00                                                                                                                                                                                                                                156.00

!Wa!Ke<.JeromeDukc- - I .. --
                         26~1.()JJSI -··--··
                                      B     r WAGES'
                                              HOURS                                          "'2.00   I         14.1.50.   I       -·oo I           i.lll.50   I         152.00     I          6"'.00   I                    I'                   .I                     I                     I                   II                     1•             - I
                                                                                                                                                                                                                                                                                                                                                     1\5&.00
                                              WAGES
                                                'TOTALHOURS                   I        2,113.95 i             1.112.00 I         947.90     I     t.007.67     I       1.104•.!0    I        738.20 !             7'L25               L>M-lr.I               716.00      I           671.75             S.U.17           665.25                   ll.7.aS.6J
                                                ITOTALWAGES               · 1s·        J.657.oo 1s            1~i.1:00 J s       J71.2sJs - l.579.17 Is                2.639.64!    Is      (&1J.so>! ~...,     z._011.zs \       s   >.157.01 ! $         l.4ll80       I s....   I. 738.!S           U06.00           Z.91U.75                  2.J.4UJ.$9

                                                                                                                                                                                        Alm>untl>u.
      Fl;1'1lS           RATES                  I l/1112           511111
 HEALIB ll. WEU'AR.E \S;ierbour                 I    SJ..80          53.80             8.033.01                4.225.60         3,ci02.02         3.8:9.15 Is           4.L96."2 \ S        2.805.16             3,ooo.<s I s          s.10;.~    Is        2.720.80                Z,55?.0S            2.02~.05        2.527.95              s    ~4.633.40
 D.C".   ;orn              ISpe:hour            I    SO.'.'O          Sli.70 Is         lA79.o:       Is        7'.'8.40 Is      663.53             705.3" Is            -m.osTs              s!;.74               55388 Is             940.86 I       s      so120 Is                4:-0.23 I s        373.:?2          4<>5.68             s     8.221.96
 78 !.OC.Al. PAC           IS pc:: '1our        I    S0.00            SG.00 IS                            $                                                                  .   Is                         ~                                                         $                            s                                          s
 DUESCHECKOFF              l~ofweg~         3.50%                     3.5031 $           128.00 I s              4-1.21 Is         12.99              55.27                92.3? I s          (22.52)               "'0.60               110.SO               85.18 IS                 6084    Is         T'.2! Is          1~.-1-            s       819.14
                               TOTAi.AMOUNT DUE                                   s    9.6411.78              S.04.21          4.178S             4.SS9.7ll IS         5.D62.l9 Is          3..ltt.38           3.63t.Z3 I s          6.L<s.90 I S         3,301.1s I s            3.083.72 I s        2.476.48 I s     J,098..10             $   5J.674.SO
                                                                 Case 6:18-bk-00263-KSJ                   Doc 92                    Filed 06/06/18                              Page 17 of 50




Distrid Council 78 Employee Benefit l''wids


       EM?LOYER: ExcdC'..::clJ Coati.Dgs .md Applicatior.s LLC                  REV!E.W PE!UCD: Jom'"" !, '.;QllthroushApril 14, 201g                                          Rl':lton F'or DcOdim<:Y <RFD};
        A:JDRESS: 221 N.H,.;27,Sllil.ol,Cl=ru.F'- 3-Fll                               .'.l;[)ITC·R.: 10"-'lll> Ki>z1:>; ;cckj, Coyle                                           .:\) Contnbutions ~on .ill how:s w-.J:kcd
        CCNTACT: L2M"'1COMU2ia                                                                                                                                                                        .n
                                                                                                                                                                               S) Contribulions<iu: on omploy'es pctfo:nung =-erod wodc
      PH NUMBER:     352-394-21!'~




       W12
                                                                                                       Coutribatton Duei for .\.p!'l"ntic:e f;lJ.nten:


~--==--~-====---='-"--.,.-=-.,.,--~·'Al~N~-.,....-::..FE=B=--~-'M=A-"-R ·-·.,.·-··                                                                                                                                                                TOTAL
                                                                                                                                                                                                                                          I           108.::!2
                                                                                                                                                                                                                                                    2 n-.s:;
                                                                                                                                                                                                                                          ·~
                                                                                                                                                                                                                                                        7'.'.00
                                                                                                                                                                                                                                                       91l.2S
                                                                                                                                                                                                                                                      !lt.60
..,,-,-.-~-:----,.-,=--=-r--:---.--;;"""':::-:::lr---==t----=::-:::-t------ir-----r-----;----------t--~~-+----..,.._----,r----_:~:f=·-··---+-----1~-'=::~~
                                       ~·3.00)   33.00
                                                                                                                                                  $
                                                                                                                                                       30.00
                                                                                                                                                                                                                                                    2.328.S3

                                      15$.So) s 611.lo                                                         I                i                 $   555.60
                                                        fl.00)
                                     f-'-"~~~='="---+--~~1-,---=~.r,.----+-,----+,,-----1...,,..----r-----,-=='=o+.,.-~..;='-+-----+-,-.---..l~...
                                                                 33.00                                         2:07.22   97.60        i                                                                                    I                          J34J2'
                                                                6ll,J6 s
                                                     (SS.S6) s                 !S
                                     =====--'""'--"="""'-.......;=;.;..""-----'-"'---....!-..___....._____,,-======..._-==;;..;.;;;,..=--....,,--....;-._1s.,·.
                                                                                                           is       s 1.888.15 s              IS
                                                                                                                                               J.~?l.26                                 s 5.915.01 I
                                                                                                                                                               -~·---~:~~.,.Ls_·=-----=----==-=-
                                                                                                                       Amount Due

                                                                                    s                                                  ;$         187 <I-I   j   s   3!D.88    s              IS                                              s      1272.32~
                                                       s        s              is   145.D~ Is 08.32 s  IS
~"'-'~=o~---t'~===---t----:~~--:,,,-,.,..~--~~r:---~~r:-----r:-----r-::-----r:-----~----r:---~~r:-----r:-----rs::-----+~--~-··___ ,_________ r:1 ::..s-~•~:µ~3~'-;1
~                                                                                   s              s            s                      .
                                                                                                                                       IS        s           " i
                                                                                                                                                             Is                $          -   IS
                                                                                    $              $                                   :~         121.49 I S          ·66.09                  rs                S                         I   $        2()":'.:J3 f

                     c.:..:=====-'---"'"-----"'---.-.-...-......===-......-===-_._.._=---------==----=-=====---'---..-=....-.---...._..._
                                                                                    s                                                  s ____._..s_=--~• . ---·---·"·~"-"!S_..,1.=71,.l...:r.,._
                                                                                                                                       :s      1.05J.98'         s   505.29    s
                                                                                          Case 6:18-bk-00263-KSJ                                                     Doc 92                             Filed 06/06/18                                   Page 18 of 50




 District Council 78 Employtt Benefit Funds

                 EMPLOYER: Ex«h:t<."Ch Coatings Md Appfu:alions l.U:                                                           REV:::W PERIOD; jen~.•r; l. ~ClZ throu,h April 14. 20l8                                                                 Reason For DcD.drnCY CRFJ)>:
                  .WDRESS: 22ll\.!!wy27.Sui1cl.Clcrrocnt..FL 34711                                                                   AUDITOR.:. Jearma r:.isW .: J9.clcie Coylt:                                                                       A:) C"..ontribl."tions dee: ·an all homs \vork:d
                  CO!\"TACT: l..av..'JellCC·Mv:m                                                                                                                                                                                                       B) Contn,,,,,.,,,. due on all <mpioy.,,. p<tfOlT.ling co=ed wed:
            PHNTiMBER:        352-39+21~5




                ?OU
                                                                                                                                                                Contribution 0~ ror Jo0t1l"DC'ymfll P:ainZH's:
                                                                                                                                                                                                                                                                                                                               l.t:SS "~on C"...overcd Wark"
                ~!llllC           SS Number             RFD                           JAN                FEB             MAR              APR                     )IAY                   J[J"]';              .Ji;L                  AUG                    SEP                   OCT                  ~OV               DOC             OTIIE:R           TOTAL
!Ca.ttl:x:i>n..RoV                S:!l>-63-7876 1        B            HOURS              144..50-         ns.oo            214.00           l9UoJ1                    lc,AS I                 28.00 !              7200                195.00                    38.00                                                                        1'04.50)         l.1"?3.9~
                                                                      WAGES                                                                        I                             I
•CUcliss.Tem•                     ~S-27-8839        I    A            H01..'RS           (43.00)           (13.7Sl          16.00           013.SSlt                   36-<o I               119.01)>            124.GO                  26,00                   (9.SOli                6.49              02.50              1!.00                               32.69
                                                                 ,,
                                                                      WAGES            f123.59J     s     (231.4~)         26~.~8     s    (228.r.5)       s          614,3()    1s         (319 77)     s     1403.92      s           q:,sa                 f!59.R9JI S           109.23             1.051.88            134.04                               5:50.F
iEnoli.:.h C~ce                   265-ol-3302 I          B            SOURS                                                                                                                                                                                                                                s.oc            128.00            i!r:'.04)           18.96
                                                                      WAGES                                                                                                                                                                                               I
I Jimcn-::z:. St::ve              ."lc>-0"3-1243         B            HOw'RS                                                                                                                                                                                   IM1'~l              2C.2.SO               228..50            61.JO            (403.00            190.00
                                                                                                                                                                                                                                                   l                      •
                                                                      WAGF.S                                                                           I                                                                           ""- ·---·· --l----...... .!..
IRcalr..:ul                  I 2;s.39.z722               A            HOURS              (4555)             93.25                                                                                                                                                                                                                                                 .fT7Q
                                                                      W1\GES $          (888.Tll '$      1.81838                                                                                                                                                                                                                                                no 15
; R.odl>erl"l... ndiick           593-ll>-~114           B            HOURS              109'75           !37.15           139.67 I         t34.SO.                  206_'!1                   i8.0G             46..50                 lt1"1.00               J:::c1..?:"i         IUUO,                li'~.S6           103.50           (868.12)            coo 8<i
                                                                      WAGES
;;sctm1CJ'C'<    J~               166- ':-:689      i    B       I    HOURS               JG.OD                                                                                                                                                                                                                                                                   30.00
                                                                      W.-\GES
ITh-" Ronald                      "260--o7-:4:r::- -t    B       I HOtlR.S                74.50            l4~.is          180.1~            13UO                     157.50                 11(150             JOO.SO                  !~.00                  12~.25               11850                197.50            103.SO          (LO\M2)              $6-.53
                                                                      WAGES
'Varnt.."'..l~i.              '   :''V\!¥2';-555:C: ;     B           HOl.'RS                                                                                                                                              1                                                        ::.:i.no   1         1.50.:;Q          1-16.'5           aoo.m              13(1.8!>
                                                                      WAGES                                                                                                                                            I                                                                       I
                                                    ITOTALJfOl~RS                        270.20           542~:            549.82           •4635 I                  577.95                 137.g)              195.00 !               SIS.OU                  379.00              .S79.99:             s.,_o;o           550.75          (2.672.73)          ?.1121.49
                                                    ITOTALWAGES                  IS   (1.6Jl.92J    s    1_<30.96 Is       26'.2S     s    (2~~~.~.l•.l.~~=s                               (ll9.77)1     s     (4Dl.92)i S             437.SS                 (159.89)             1Q9.23'         s   I.OSI.SS     s     134.64      s                       1.48-0.JZ

                                                                                                                                                                                         Amount Du.e
            FUNDS                    RATES              Jll/13        lllll13
 BEALTr! & \\iELFARE S ?Jerhcur      'SJ.SO                             S3.80    s     1.026.76 I s      2.061.50    s    2.089.n     s    l.o98Al s                2.196.'.?I       s       52250       s       '-11.00    s         :!.0'.1.00       s      J.4'().::0 !    s   !,K23.%          s   l.l l~.33    s    2.092.85 I s (10 l~.37)         s   2v21.o-,
 D.C.7f<FTI          Soer.hour        SO ?O                             S0.71     s      189.1• Is         37~.'5    $      38-1.&7   ~      !128? s                  .w.4.57        s         96 25     s       136.50        s        386.95         s       269.C9. S            340:79         s     581.B!l    s      391.03 ; s il.897.64          s    1.9i6-.a5
 7S LOCi\L PAC       S~hour           SO.DO                             S0.00     s         - 1·s             -      s                s                    s
                                                                                                                                                           .s
                                                                                                                                                                                     s             ,_
                                                                                                                                                                                                         s                  s                          s              IS                           s                $          -     •S                  $
 DUES CHECK OFF      ,..of~          3.:SOOICJ                          :;.so~    s      (.$6.42•· s        555-1    i       9.42     s       {7.':I~";                2!.50         s        dl.i~J     :s      i!4.14.:   s             15.32        s         ·5.50)lS               3.82       s      36.82     s·         4.71 ; s                  s        .'1.80
                     TOTAL A..\'IOw~T Dllf.                                       s    1,1$9.48     's   2.496.79    s   Z.4l0.6!     s   2.0o.3.30         s       2.6ll.Z8         s      60756        s      863..!6     s         2.<&7.3.27       s     1,703.69 IS          2J68.S7          s   3.7".il4     s    2.488.59 ' S     ClZ.0~.011     s   lZ.7~'.5.J
                                                                          Case 6:18-bk-00263-KSJ                                             Doc 92                   Filed 06/06/18                               Page 19 of 50




 District Coone.ii 78 Employee B.,nefit l<'unds


             EMPLOYER: E.xcciz:rat O>atings aru!A~ns LLC'                                                     R.EvtEW PERIOD: far.>lll<y l. 2012 through.April 14. 2018                                           Reason For Drildmcy CRFDl:
               ADDRESS: 221 N. Hwy 1:. Suite I. ~krmont~ FL 3471 l                                                       AUDITOR: Joi:J'tl't?..Klszio: Jackie Coyle                                               A"; Contribution:; due onall.bows~oiked
              C.01'TACT: La~Mm                                                                                                                                                                                    B\ C'onli'.blllions due on ;ill employ= pcr{cm:i.'lg covered wodc
           P!'! t--UMBER: 352-394-2155




            2013
                                                                                                                     Coutrlb11tlon 1>11f'for "UtUlty Workers" Palntc:N Worldw.,:. Oveor 2000 boars
                                                                                                                                                                                                                                                                                   l~o:ss
                                                                                                                                                                                                                                                                                            11
                                                                                                                                                                                                                                                                                                 Non CC'\"cr:d Work·
                            SS Number        RFD                       .JAN                             MAR               APR              MAY                                    JUL               AUG                 s~;p             OCT              NO\'               DEC                     OTHER                TOTAL
le.mr. Jl.!ichad            592~12-2.858 I    B    I    HOURS             4S.9l          159AS                                                                                                                                                                                              I
                                                        WAGES                                                                                                                                                                                                                               I
IC'urliss. David                                                                          38.09          J'.'60()                              1()4.50          lci8.fl(r           125.SO           152.35                t2650            IP.9c>           l ':'8.00         Jl l.50 .               (950.llo')            594.19
                                                        W.J..UES
IGcuoh. Srevcn              Ol&.i<-4361 I'    B    I     HO:.JRS                                                                                                12~.oo              l17.'S           213.75                149.00            75.68           211.50            118.0~                  fS.."4.00)            413.'?0
                                                        WAGES                                                                                                                                                                                                                                                        s
!Jcm.i.....," W. L          43&-37-8741 i~    S    i HOURS                                                                    ?ll.'5                                                                 228.""l'.5            166.00                            ~lC.34            165.25                  i703.2·1l             ~.4.81
                                                        WAGES
IJobn:;on Rod               200-:13-1510 i    B          HOURS                tS.n       J..ti.OU        230.75              183.'S            205.25             S6J3              11.;,5!1·        20!.SO                168.00           170.67           ~i1   65          l52.'7tl                tUl.2i)               9$0.80
                                                        WAGES
                            59}.16-2114 I     B          HOURS                                                                                                                                        7~.92                12!1.25          11&.SO                             103.50                                       !2':8.39)
                                                        WAGES
~Sh~hcrd Michael            265-81--094 I     B    f     H01"'RS                                                              191.25           L.42.60           123.SO              so.so           102.50                133.50           !'2.50           ::!28.50          IOJ.5G                  ;7-'l!.SGl            697.82
                                                        WAG::S
                                                                                                                                                                                                                           loS.25           ;02.cc                                                                            (ID.SO)
                                                         WAGES                                                                                                                                                                                                                                                      iS

                                         '----'--'---'---'______._____._____._________________________._________
                                         l,_J_O~T~..\._L_H_o_'U_ffiS
                                         I TOTAL WAGES
                                                               _ _..,.____5~2._0_2-+-_ _lJ8.
                                                                       S
                                                                                        __!'4_,___6_0_0_.7_Z-+-_ _
                                                                                               S
                                                                                                                             ,_o_s_.77_,___388
                                                                                                                                           __  .1_0_,._ _ _7_0_3_J_J_'_ _ _7_4~5_
                                                                                                                                                         S                  I S
                                                                                                                                                                               •.io_,_ _1~._17~9-.S_Z~__1~.-~28_-_"IT_;,; s
                                                                                                                                                                                                                  I S          ..
                                                                                                                                                                                                                        "''.''~''".....__,,.".--  . . .-----..;.;----------=-"""'-----'-
                                                                                                                                                                                                                                           920.06 :, s     l.?1'.55
                                                                                                                                                                                                                                                                         S
                                                                                                                                                                                                                                                                              75.US
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                                                                                                                                                                                                                                                                                                     (5.812.53)!
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                                                                                                                                                                                                                                                                                                                           J.31J.49


                                                                                                                                                             Amounl Due
I ·        FL"NDS             RATES          l/llU I SllllJ
                                                                                                        2.282.74 Is         2.681.93                           2.67l.6S                             4.482.!~       s     3.908.30                          4.634.29          2.J!6o.91               C22.087.6J)           IZ.629.<:B I
ID.C. "l!·FTI              Soc::hom           S0."0:       so.~1          30.41      s   230.98          ~~.50      I$        494.04   s       6:?l.67           45'2.33            521.82      s                          ?30.24           653.24           85~.BS
l?RLOC.'<1-PAC             Sl>erbour          S0.00 I      SO.OD   s                 s              s               IS                 $                                                        s
IDl.iF.SC:Ht.:CKOFF        o/.or~~            3.Y.l%\      3.~     s                 $              $               •s                                                                                                                               s                                           s                   s           - I
                           ._T_O_T_AL_AM_OUNJ
                                        _ _D_U_iE_ _ __. S                                                                 U75.97, S                                                                5J19.~         s                     4.U9.47     S
                                                                                 Case 6:18-bk-00263-KSJ                                              Doc 92                          Filed 06/06/18                              Page 20 of 50




 District Council 78 Employee Benefit Funds

               EMPL<.WER: Exce!er<oh C:ialinl!" anli Appliartiocs LLC                                                      REVlEWPE..'l!OD: Jan=y 1,2012lbroughApril14.. 2018                                                   Rosan For OcfldmCT <Rm1:
                ADDRESS: 221 N. Hw,27.Sutle ~CI0'1l1ont.FL J.!711                                                               A~'DITOR: lo"'1113 Nsz!o · J:acki< Coyle                                                        :i.) Contributionc:; due on all !Ictus -g,oor'1'::d
                C'ONTACT; LawronceMuzia                                                                                                                                                                                         B) Contriblllions duc on .U omp•oye:s pafom:ing cova.d work
              PH Nl!MBER: 352-3!>4-2155



              .?(11 ..
                                                                                                                                                 c~ntr.ibutfon     Dllt'for .JWm~nf!A Ptmatcrs
                                                                                                                                                                                                                                                                                                               Less "Non Covered Work"
              ~111mc            SSNLDDbtor           RFD                                                             MAR                          :\{A\"U                    Jt:"N             .Jt;'L            AUG                     SEP               ocr                  NOV                DEC                   OnlER               TOTAL
IC'urli.<s.Tco::y               545-27-l!lP.9        _...       HOURS                                                   33.00                         12().00                     l8.5()'            47.50                  I
                                                            '                                  s
                                                                                                                                                                                                                                                                                                                            ,~33.50)
                                                                                                                                                                                                                                                                                                                                         s
                                                                                                                                                                                                                                                                                                                                                (24020)
                                                                WAGES           <735.~9)             120.54            568,,6                       2.060.40                     490." 's          g;;,95                   I                                                                                                                  3..)28.63
I EnolH.h C!ar~ce               265-61-336~      i    B         HOURS                                                  i94.SO                         3~.   .so·                213.Sl I          126 :;o          Z'.!4.50'               1<'3.00             143_<()                118.50          138.00                (803.5()1          1ns.oo
                                                                WAGES                                                                                                                                                       !
!Gotl2h. St:e:en                OIS-"74-4361          B         HOURS            1"72.50             133.75            2JO;S(I                        3:8.35                    185.50             94.00            ci2_'0 I               155.'"5             135.75                 125.00              16.00             '9St.b5)             ocS.95
                                                                WAGES
f.JlJI'lc:m:z. St~e             54~-12•3              El        HOURS             B!.00                                15051                          199.00                    199.10            160.00           226.0-'J i              155.00              .2ZO.OO                165.50          147.00                  i.I0.00)         1,663.12
                                                                WAGES                                                                                                                                                                                                                                                                    s
iiR<><ID.:r Qu.indric:k         S93--l6-!114 l        g         HO!,"R.S         151:00               so.so            !0250                          30:;,oo                   l'!-l.10          101.00           159.00 !                124.oc              144.50                 156.00          127.00                                   I C4:!.00
                                                                WAGF$                                                                                                                                                       I
~~1'1L""I':   ltichi!rd     I   255- .• ·-3535       A          HOURS                                 40.00              80.0C                                                                                              i                                                                                               ·(,2G.5()l          (300.50)
                                                                WAGES                      ;S       931.60       s    Lll03.20                                                                                              :                                                                                                            $     2 "94.80
!Thom1><on. Ro""1<!             266-<:7-7437          B         HOURS            UJ.SO     i         JO..;..DO           94-50                         345.00 •                 2ll3.SO            93.00           159.00 I                Bl.SO                 ;"8,50               P•.5<l              90.00             G83.00)            l.~dJ.00
                                                                WAGES                                                                                              I                                                        \                                                                                                            s
                                                 ITOTAJ. HOt;Rs.                717.JQ ~            "62.75             871.5?                       1.631.Si' I               1.0J5.ZO           6ZZ.(>(J         8H.Oll i                7Z9.25               7Z2.25                 7".511        513.00               (J,038.15)           5302.97
                                                 !TOTAi. WAGES                 c735.Z9l i s        1.osi.1•      s   z.•st.-Mi              -S      LJl66AO        Is          49tlS7      s     817.95                - IS                                                s                   s    11. ....
                                                                                                                                                                                                                                                                                                                     s
                                                                                                                                                                                                                                                                                                               _;_--...:u                s    6.123.U

                                                                                                                                                                            Amount Du<!'
              FV'NDS              RATES          I 81tn3 I    S/1114
 HEALTH&WELFAREIS~ei:how-                        I   SJ.801       S3.l!:J S    2.'!7.041       s   l,758AS       s   3.3ll.78    s           s       0 201.03          s      3..933.76 $       2.363.0:0    s   3.157.80       s        2."1.15     s       '!.7~.55      $      3038,10      s   l.%SAO            s   Ol.>41.9 7)     s    22.~:§.!l.2_
                                                       so:1:                                   s
 D.C 7SFn
 "?SLOCALPAC
                            IS"CCrhour
                            IS.,.,.hour          j    SO.DO I
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                                                                                                                                                                                734.99 $
                                                                                                                                                                                           s
                                                                                                                                                                                                  441.6:?    s
                                                                                                                                                                                                             s
                                                                                                                                                                                                                   590.01       s
                                                                                                                                                                                                                                s
                                                                                                                                                                                                                                          51'.''     s
                                                                                                                                                                                                                                                     s
                                                                                                                                                                                                                                                               512.80
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                                                                                                                                                                                                                                                                          s
                                                                                                                                                                                                                                                                          s
                                                                                                                                                                                                                                                                                   S6765       s
                                                                                                                                                                                                                                                                                               s
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                                                                                                                                                                                                                                                                                                                     s
                                                                                                                                                                                                                                                                                                                     s
                                                                                                                                                                                                                                                                                                                          (2JS7.09l
                                                                                                                                                                                                                                                                                                                                 ·-
                                                                                                                                                                                                                                                                                                                                         s
                                                                                                                                                                                                                                                                                                                                         s
                                                                                                                                                                                                                                                                                                                                               4,191.11
                                                                                                                                                                                                                                                                                                                                                     -
 D\JllS CHECK OFF           1~.... or"'~~ .. i._ ..2~~L.          3.50%    s     (25.:t>I:;.          36.s:?     s      85.10    s      -    s         7232            s          17.18 $          2&.63     s                  s                    s           -        s                    s                -    s           -       s       21-1.31
                            jTOTAL AMOL'NT DLE                             s   3,21!.S' I      s   2.123.82      s   4.015.60    s           s      7.43136            s      4,'3S.9J s        2.8.U.85     s   J,747.81        s       ~!-Z88.9Z   s      J.Z57.JS      s      J.6-0S.75     s   2-336.JS          S <U.'02.06)        s   26.836-71
                                                                                                                                                                                                                                     -




                                                                                                                                                                                                             ------------------
                                                                                        Case 6:18-bk-00263-KSJ                                                  Doc 92                  Filed 06/06/18                               Page 21 of 50




 District Council 78 Empl<>ytt Benefit Funds

            EMPJ..C~ Exc~hCo~ti:ngsandApplicaticns           LLC                                                             REV!EWPERIOO. l2llWll)' I, 2ijJ21brous!J A;nil 14, ~018                                                Reason ForDdidl:nc1'<R•'1>t;
             ADDRESS: '.!21 N.P.wy2'.l,5'-""'1',Clcml01lt.FL 34'.'11                                                              AUDITOR: J01111Da JGszlo' Jool<ieCO)'le                                                           A.) Conmbutions ~ on aD ·hoUB wo:ked
             CONTACT: r..awro= Mum                                                                                                                                                                                                  lljC.-.uributions cln.: on 311 employees perl'orming eov<red "'oxk
           PHNl..'MBER: 352-394-2155



            201'
                                                                                                                                           Contrlbotlan Due- for" r.1 tUHy \Vorkcn'' Pmnters \VorldD~ Over 2000 boars
                                                                                                                                                                                                                                                                                                         Les< "Non Covered WOil:"
           Name                    SS Number           RFP                          JA!\             FEB               MAR                    APR            MAY"•              .JUN             .n;L               Al;G                 SEP               OCT                  NOV                PEC           onm.R          TOTAL
;:c10r~ ........1h..,.   ?.:UC'11 -'SG-01-7945     i    B     i HO'JRS                                                                                                                                                                       84.oo           236.00 I             1$4.00             108.00         ·~l.50)        '.!30.SO
                                                                  WAGES                                                                                                                                                                                                i                                                            s
·i.m;.... W L                      :Zo>-96-1458 i        B         i!01.JRS           248.0Z           160.50            191.00                                  391.7.5          204.50             131.50           159.50                 15~.00           13550:              l32.00              ~5.50         {l.3(il!.14)            e"3.63
                                                                  WAGES                                                                                                                                                         I                                                                                                   s
]Johnson. "Rod                     266..SJ.15LO !        B    I HOtiRS                ls-;'9.5         130."5            207.00    I                                                                                                                                                                                  ~".'O.'.!S)           219.45
                                                                WAGES                                                                                                                                                                                                                                                               s,
iMancro Luis                  '    :1!!3->'·2171         B      HOURS                                                                                                                                 16.5~           20&.oo                 150.00           134.00              124.50             166.CO           (5<16.50)             258.57
                                                                WAGESI
IN•"""o-Gonzales. 1~ i             ~~·8070               B         HOURS!                                                                                                                             33.25           230.50                  oo.oo                                                                 •l~30)               (1.459.551
                                                          WAGESI ·                                                                                                                                                                                                                                                                  s
IRcdo<rc"""dric:I:                 59:'H5-2114           BHOURS!                      151.0C           ·so.so            102.SO                                  303.~0            194.10            101.00           159.00                 124.00           144.50              156.00             lZ:-.00                              1,6-t!<IO
                                                          WAGES
IShenh-d; ·t.iicl-.lld             !6:5-81-4~94 I  B      HOURS                       lS.50            l-13.50           216.75                                                                                                                                                                                        (!S.OOJ              50CS
                                                          WAGES                                                                                                                                                                                                                                                                     $
ISmith Gonlo:i                     XXX-XX-XXXX I   B    ' HOURS                       2{]0.00          160.00            100.00                                  320.Dil           2-00.00           16<1.00          200,00                 1;0.00           200.00              160.00:            160:00                               2.080.00
                                                          WAGES                                                                                                                        ER i> st>ting F.mployeo is a fomian but PR slated l\~~<tfoa1":d P..rinting Worl<
                                                ITOTAL HOURS                          '16.47          675.:J..C.         =.25                                  t.020.7!'          598.60             •42J2            957.oo I         740.oo I         900.00 I                 75,_-;o l          696-"ll         (4.430.69)           -4.149.95
                                                ITOTAL WAGES     S                               s                                     $                IS                 is              IS               IS           - IS                   s                -IS                       iS                  s
                                                                                                                                                                                AmoantDue
~~~~~~~~~~~~-.--~----..----~

I          nJNDS                      RATES            811113      s1v14
fHEALTH & WELFAR;; S oa hour                              S3.80       SJ.SO S        3482..59        , «<S.95 IS        3.333.55                               3,&78.85          2.174.68 s        J,680.S'.! ! $    3,636.60       s      Z,812.00   $     3,42Q.00       ~·   2,S:4.:-:0';   s   2.646.70    s   il6,.&30.62'     s    15.?6982
ID.C. 78fil                       SPC!'hour               S0.71       S0.71 S         650.69           ..r;HJ I    s     622.85                                  714.73            .i:.s.01 $        3l-1.05   5       679.47       s        515.40   $       039.00       s      537.12       $     494.52    s     13_145.79)     s     2.9.l6•.lS
i18 J..OC.~ PAC                   S PC!'l1our            S0.00       .$0.cO . S.                 s            l~                       s                                                     $                 s                    s                 s                    $                   s               s                    s
                                                                                                 s               :$                                                         s                $                 s                    s                 s                    $                   s                                    $
                                  TO'L\L Al\ol'OTINT Pvt                      ' S   4,lJ'.l.28   s   J,04..'i.33 Is    J.956.40        s                 s     4.603.58     s    Z.699.69    $    1,"4-87      $    4.316.07        s     J,3~.40           M59.00              l.411.82           J,141.22    s   119,982.41)      s    11.716JO
                                                                                    Case 6:18-bk-00263-KSJ                                                        Doc 92                     Filed 06/06/18                    Page 22 of 50




    District Counc11 '78 Emptoyu Bmcfil F~nds



                              EMPLOYER; Exccldech Co.tin!!' .,,o Appli<:>bon• LLC"                                                             ~.:1.EVw" PER!OD: !a..-u:m~ t.20·1 S tlnoug.h Apn114, ?018                       Rcucm For. Ddicicncy CRFD):
                               ADDRESS: 22.l N..H~27.S!:inel.,.Clcmont.,.FL 34'?'11                                                                     AUDITOR·. !w:bc Coyle                                                   31 Corrtnln1tion:&: .:lue on d employees pcrformCng cowred work.
                               CONTACT: LlLWim<e Mu:zia
                              PH11UMBER:       352-3~2155




                  2015-!1117                                                                                                                                                         Fonune 'P2vrolJ
                                                                                                                                                                  Contribut!cm Due- for ~nO"Mo-"111 Va.ion Member P:aihtcrs

                    ~'11blC                       SSN'iimber         Rm                               JAN               FEB            :\U·R               ,\PR            MAY               JUN
!C:uzRobctto                               I      XXX-XX-XXXX    I     B       I    HO'-'"RS                                  i
                                                                                    WAGES                                     !
JLJani.tl,_Tmiot!:.v


I   En-    Cla=>co
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                                                  XXX-XX-XXXX

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                                                                                    J!O\.J"RS
                                                                                    WAGES
                                                                                    HOURS
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                                                                                    WAGES

loon•• :;i.,,en                            I      0!8-74-4361    I     s       I     HOURS
                                                                                   WAGES
Ifan•ncz. Steve                            I      546-03-12~3    I     B             HOURS                                                                                                            t
                                                                                    WA;;ES
IR........ Quand:iok                       I      S93-15-2ll4    I    B        I    HOURS
                                                                                    WAGES
!Thom~ Ronold                              I      266-67-'43"    I    B        I     HOURS
                                                                                    WAGES                                                                                            I                I
rw·slkcr JCT<lmc D                         I      "2~--81-0138   J     B       I     lIOVRS                                                                                          I                I
                                                                                    WAGES
                                                                 ITOTALROURS
                                                                 ~====--+----+----+-----+,-s---_-+-,s---~;-s--·....:..+s----+-s---+-----+----1-----+-===-1-----1----'=="-4
                                                                 l10TALWAGES s         s
                                                                                                                                                                                         Amoanl Due
                FU1'--xJS                             RAT£S          9/lJJ.6       9fl116
    HF.-\LTH & WELFARE                         SocrhL>Ur              $4.60            S4.60'     s                s.         ~   -s               !S                  s                 s                s            Is
    D.C."Sl'TI                                 Sll'tfho;ir            S0.90            S0.90      s                s          i$                                       s                 s                s       -    Is
    "'8 LOCA.l. ?AC                            Sm:rhow·               SO.DO           SO.OD                        s          :s                                                         s                             1   s
    DUES CHECK OFF                             9:0·of"'3gcs.  3,.SOlo                  3~0'!-'.   s                $          Is                    s                  s                 s                s            Is
                                               TOTALAMOV:<T DUE                                   s                s          IS                    s                  s                 ~~·              s            IS
Case 6:18-bk-00263-KSJ                   Doc 92              Filed 06/06/18             Page 23 of 50




                          REVJ!iW PeRTOD: 1....., l.101Sthrou¢>April 14.1013            Roson For Deficlca£Y fR.FD):
                                AlID!TOR: Jsd:i• Coyle                                  B).Cl'ntn'Dut:!ow: due c-n all'c:mpl~"1!'d pc:rfc>nnir.gCO\."C'rcd work




                    MAR                        MAY                         J!JL   AUG                           OCT               NOV             DEC               TOTAL
       I                                                                                                                                          4 106.67            4 HJ5.6'7

                                                                                                                                                    793.1;              ~93.16


                                                                                                                                                  1.013.50             1013"~0


                                                                                                                                                    208.SO              205.50

                                                                                                                                                  2.S61.?'5           2..\63.7S

                                                                                                                                                    399.00              3~HJO


                                                                                                                                                     8".'S                87.75

                                                                                                                                                    4'1.00              441.00

                                                                                                                                                  S.OSJ.7S            S.OSl.7S
        I
                                                                                                                                                  S.OSL.SO             SOSl.50

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                                           Case 6:18-bk-00263-KSJ                     Doc 92               Filed 06/06/18                Page 24 of 50




                                                                       Rn1E\V PERlOD: !""""')' 1.10!5 wou;;.~ Apcil l•, ?018                 Rc:i•nn P'or Dcl'itjcD£r' <RFD!:
                                                                            AUDITOR: Jackie Coyle                                            Bi c.m~l:utioR.t due on. an employco.£ pcrfocming c..">Vered WO(~




                                                                                                       Fortw:ie.h)'!on
                                                                                                        Othcl" Paintcn

                                                                                APR           !1-!AY                       Jlf[,   AUG            SEP             OCT               'IOV           DEC                 TOTAL
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                                                                                         I                                                                  I                                                                            I
                                                                                         !                                                                                                        1.50'.'.10             1.507.20 :

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""'"""""''""'""""'°'"""------'--=:"'-'"'-"'"-"''-"'---"''--'---~~::t-----t----t-----t-----r----l---~ ______ ---·~--·-~-----+-----+------+-~1~097~,._oo--+------+--~~'-'--'
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                                                                                                                                                                                I
                                                                                           Case 6:18-bk-00263-KSJ                                            Doc 92                         Filed 06/06/18                            Page 25 of 50




     Dlstrkt Council 7B Em.ployC'C Bcacfit Ftmd'1



                               EM?'-OYER: E-:tecletec:h Ccatinss mui Applicatic.>ns LLC                                                  REV!F.WPERIOD: Ian=Yl.'.?015 IM>u;h.">pril l4,10I1!                                           RC1t'IOll Fol" Ddici~ucy CRfD>:
                                 ADORF...~:      ~l   N. H-wyI;",.Suitel.Clern:.ont,.FL 3.f"ll                                                    At.i"OiroR.: 11l-"i::ic Coyl1t                                                       B) Con:ri!:>110.:ir1.1: due on nil err.pk·~i::c pcrfo:ming CO\IC:Ced v.r<1rL:
                                 CO!~l:A(..,·:   I..av.n::u:c M1!2ia
                            PH Nl!MBF.R: 3S2-3~;:..?ISS


                      201~017                                                                                                                                                        Fortune "Pa\.Toll
                                                                                                                                                                                     Otbtt Pamten: _ _ _ __


                                                      SS N,..abcl"           RFD                           JAl'I                   MAR              APR                 MAY                      -JUN           JUL            AtlC          SF..P               OCT                  NOV              DEC                         TOTAL
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j:C>.clus..Audort                                     000-00-"Kl•       I     .B           HOURS                                                                                                                                                                                                        838.00                        8Jll.OO
                                                                                          WAGES                                                                                                                       I

   =·-.:Rum='-"°""---------''--='-='="'--'-=--'--::O~=t----+----+----+----1------t-----t---~-·----+------+-----+-----i-----+-.....:.==+----+---==~
;"'''""'               000-00-%59 B    li01,,1!S
                                      WAGES
                                                                                                                              1,1%.50        1196.SO


~Os:bomo. Robett                                      XXX-XX-XXXX             B            1!01,,"RS                                                                                                                                                                                                       '.50                           7.50
                                                                                          WAGES
                                                      (l()il--0("1663         B           HOL'RS                                                                                                                                                                                                        66'26S                        662.0S
                                                                                          WAGES

·1>!0u=cv'-'c"'do.,.."'?=z=;.;Ra=vd=•"'l-----'---'====--'-----=:._-'---.;;;;:~~----J----+------J------t-----t------+---------+--·-----:-;-----L-----··--+--=="'-+----f---'==-l
                         XXX-XX-XXXX B      HOURS
                                                                                          WAGE.~
                                                                                                                                                       223.0C            223.00


IRcd!in,R~                                            OOIJ.-00~~5             B           HOURS                                                                                                                                                                                                        1,1s.1.oc                     11s•.oo
                                                                                          WAGES
                                                      XXX-XX-XXXX             B            HOl.1!S                                                                                                                                                                                                     !.146,SG                      U46.5()
                                                                                          WAGFS
                                                      QC0...00..8124          9            HOURS                                                                                                        i                                                                                               443.0C                        448.00
                                                                                          WAGFS
                                                      XXX-XX-XXXX             B            HOURS                                                                                                                                                                                                        453.0C                        453.00
                                                                                          WAGES
                                                      OOIM0-3193              B            HOURS                                                                                                                                                                                                          11.90                         11.90
                                                                                          WAGES
                                                      OO!l-OQ-<(6'.J          B            HOf.,'RS                        l                                                                                                                                                                            594.00                         594.00
                                                                                          W.'<GES                                                                                                                                                                                                J
                                                      263-4S-ls.l5             B           H0t..1!S
                                                                               .L,__,_,----(_ __,__ ,_, -·--._--·-·--·---··-·· ·..                                            ::..-r.....-.--.
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                                                                WAGES
 :Sir.I-ch..--.M-.-id'3_c_l_ _ _ _ __,,,...------:----:----t-·-····--·-···-.-;1_-_
                                          OQ0..00.30::? n .j HOL'RS                                                                                                                                       ~XI.SO               .. 90.SO
                                                                                          WAGES
                                                      OOO·C0-9880              6           HOu'RS                                                               I                                                                                                                                       476.SO                         .:!..?6.50
                                                                                           \\'."-GES
                                                      XXX-XX-XXXX              B           llOURS                                                                                                                                                                                                         38.00                         380!!
                                                                                           WAGES                   I
                                                      OOO-OO-S98'.'            !l          HOURS                                                                                                                                                                                                          61P<                          GS.'!S
                                                                                           WAGES                                                                                                                                                                                                                           I
     IYil!.:mucva. Wcna:<Wlo                          0Cl-00-3Z99              B           HOURS                                                                                                                                                                                                          (a.~Q                         69.00
                                                                                           WA.CES
     IW.itccr.Jolin                                    000-00-"°93      I      B      I    HOURS                                                                                                                                                                                                        995.00                         995.00


     ~~                       B
                                  WAcrf:S
                                   HOURS               000-0~2742
     'L::.!!!~~-----'--"==="'--'--"---'--.,;;=-:=1----1--~---1---+----+---I---·
                                  w.-GFS
                                                                                                                                                                                                                      ·+-                          41.00     44.00
                                                                                                                                                                                                                               ·--+---+---+---+--~f----!---==-1

                                                       XXX-XX-XXXX             B      I    HOl..'RS                                                                                                                                                                                                     320.00                         320.00
                                                                                           WAGES
                                                                            ITOTAl..HOURS                                                                                                               I                                                                     I                       72,845.77                     72,~~-77
                                                                            ITOTAL WAGES               s               s   is                 s                     s                  s                IS                'S            s                   s           -     •S                                       s
                                                                                                                                                                                         ..\m1>aatDue
                       li'UNDS                            RATES              911116       9/J/J6
      EiEALTI! & WELFARE                         IS.crhonr                    54.60          S.:.60.                       IS                         ----rs-                                                                           $                 IS                                         335.090.54                    335,090.54
      <>.C.'.'8Fn                                ls pcrhou:                   S0.90          SO.!lO                            $              s                                                             s                           s                 IS                                          65561.19                      6S.S61.19
      78LGCALPAC                                 ISoerhour                    SO.OD           so.oo s                                         s                                                             s                           s                 IS                      s
      Dl.>"ESCHECKOFY                            j~ofwa~                      3.5~            3.500. S                         s              s                                                             s                           $                 IS
                                                 JTOTAl.. AMOUNT OGE:                                  s           IS          s              s                                                             s                           s                 IS                      s                  400.651.73                s   400,6!'1./J




                                                                                                                                                                ------------------------                                                                         ----------               ---
                                                                                        Case 6:18-bk-00263-KSJ                                           Doc 92                         Filed 06/06/18                          Page 26 of 50




Di>lrict. Council 7S .Employee Bcticfil F1.u1.d:s.


                                 EMPLOYER: Excclctec!i Co.neg. =l Appli=iom I.LC                                                        REVIEW PERIOD: Janu:II)· 1.201Slhroag.h~ l4,10:S                                                  'Reasoll lo~or Dd'icicng (&fD}:.
                                  ADDRESS: 221 ~.Hwy:r'.Scitcl,Camont,ft. '.;<1011                                                           AUDITOR.: J~Coyle                                                                            B) O;mttibnti.ons d~ on all. em:ployecc pc:rfonni:rs co".~ work
                                  CONTACT": I.awn=< M.m.
                                PH !\-,,,_iMBBR:   3S'2 4 ~4a21SS




                         .Wl7                                                                                                                                              Pal:'.cbcx P.a\oTOll
                                                                                                                                                         Contribution Dve for KnoWD Ucio~ Member Pain ten

                   N=urre                              SS:N11mba           RFD                         JAN       FEB              MAR              APR                MAY               JUN           01101~1m          071D-C71Jl             AUC                 SEP            OCT              NOV            DEC           TOTAL
lDanick. 'Iirnorh\"                                    S95-IB·J731     I    B      I    I:;OL'RS                                                                        89.00             1:12.00          s•.oo             38.50                                                                  li&.00         171.00          638.50
                                                                                        W."GES
!E,,.,;.i. Cl=o""                                      '-6S-6la3362         s           HOURS                     32.0D             r26.ao          !S0.00              lSS.00             60..IO         l~J.1)0            40.00               l47.50             l49.SO         150.00           123.50          lS:Z.00          1 457.00
                                                                                        WAGES
1
    Ocr.:a:l:., Steven                             I   Ol8-74-436l          s      I     HOURS                    40.00            lSS.00           164.CO              136.~             137.00           87.SO             25.00               lS:?_jO            ll3-<0          lSS.SO          119.00          r:"·UJO          1A68.::lO
                                                                                       WAGES
i flDlcne:z. Sieve                                     '.>46-63-1243        B      I    HOUQS                     ~9.00             184.SD          220.SO              l62SO             182.00           63.00                                                                                                                      861.SO
                                                                                        WAGES
                                                                            Jl__
~R~~drick                                              S93-16-2l14                       HO[JR.5                    9.50                                      I                                                                                                                                                                          9.SO
                                                                                        W.\GES                                                                I
IScru.... Ricl=l                                       XXX-XX-XXXX          B            HOl!R.S                                                              I                           1:?0.00         16'l.DO            40.<lO               160.00            200.00          :60.C~          160.00         '.?00.00          1,200.00
                                                                                        W.\GES
ITh-w'"• Ronald                                        ::66-61-0.tF         1>          HOl!R.S                     l>..IO                                                                                                                                                                                                               9.SO
                                                                                        WAGES
1 W~ Jcr1.\mc            D                             264-Bl-013&          B           KOORS                                        68.00                                                                                                                                                                                              68.00
                                                                                        WAGES                                                                                                                                         I
                                                                       )TOTAL UOURS                               L-16.QO.         :5l'5.SO         :5l"-50            545.SO             1531.SO         555.SO            HJ.SO     I          -!60.uo I          ~6l.OD          4'7l.SO i       520.SO         70l.OO            5.7l1.0C
                                                                       [TOTA!, WAGES               s                         is                s                  s                 s                                                 I

                                                                                                                                                                                        Am:GuntDllE
                         FUNDS                            RATE.'<          9nn6        7'1117
 HEALTH & WELFAR'i".                               IS PCT hour             S<l.60          S4.9C   s         s    5;[60.          ~A6:'.90         2A5S.70            :? S09.30     s    2.904.~0   s   '!.:"2.1.95 1, s    703.lS             2~2..<...4.00   s   1.268.'0       2.31S.2S      S :Z.SSCt•S   s   3.44<1."70.    r    :?70.6C
 D.C.'78ffi                                        iSncrhour               So.90          S0.90    s         $    l}L.JO      s     082.SS          .isl.CS              •90.95     s     S68.3S    s     ~99.95    l   s   !29.IS               .il4.00             416.70         •2S.25          <68.~S         6~2.70            S.!<O 80
 71!LOCALPAC                                       l$tK-r·how              S0.1l0         $0.00    s         s                s                                   s                                 s               !S                                         s                                              s
,DL'ESCHECKCFF                                     l%of"irnlgcs            l.50%           3.50%   s         s                s                                   s                                                 is                                         s                                              s
                                                   [TOTAL A/l.totr:.I Dl'E:                        s         s    ICOJ.00     s   2,!>Sll.7S   s   2.939.75 I S       l,000.2.5 ;   s    3,47l.25   s   3.221.90    Is      832.lO        s    2,668.0U            z.~!'.40   s   2.7~lt.SIJ      J.~18.9~    S· 4.0i7...i0      n.•tt.•o
                                                                              Case 6:18-bk-00263-KSJ                                  Doc 92                 Filed 06/06/18                               Page 27 of 50




Districl Council 78' Ua.ploy« Br:ncfil   to~uncb




                          n!PLOY.ER: l!:<ccktccli C~ and Appbcalious U.C                                            RE'.1e\\.' ?E<UOD: Jomwy l,:?015 th...,...ti April 10. 2018                                    Ras.an For Deliciency f.RP"Ol:
                            ADDRESS~ Z:?t N. Hwy r .suite 1~ Oemion~ FL 3.471 I                                               AllDITO~     Jacki• Coylo                                                            6) Ccntrir.:.:ti~ns d1lt ,'ttlall cm.plC'l)"eu pafocmin$j. oo~ered wod:
                            CO~IACT: LA~M.,;.
                         PH N'~'!>!BER: 352-394-2151


L_
                                              SSNa1:e1be:r         RYD                  JA.'<                 MAR              APR             MAY            JllN         (17/0t-071l2         07123-07/Jl             AUG                SEP               OCT             NOV             m:c           TOTAL
I AIJ<.-ru;, leffm   w                                              B        HOURS I                           163.00 I          209.00          ?43.SO         132.00            11"'.'.S~ ~         i:8.00               158.SO             1~.1.00                         107.0C •        196.0C         L7::".00
                                                                             WAG.ESI
                                                                   B         HOl;itSI                                                                                                                          I                      I                                                                           ::".'.00
                                                                                                                                                                                                                                      I
                                              000·00-9523           B                                                                                                                       i                                                                  153-SO                                            185.50
                                                                             WAGES'
                                                                             HOuRS                   40.~      17.1.00          2l9.00           '?l0.50        165.00            tl4.00                                              I                                                                          9'??.50
                                                                             W!\GES
~C2cinbclL   Fabinn                           000-0()..7.043        R    I                                     i.4!.50·          149.SO           ISS.00        156.00            151.00             35.00:                1.Q.50     i       135.50            170.00         03..00         134.50         1_5.18.SO

ICanmbcl. Kevin                               000-00-:1100          B    I   HOURS                             l!O.SC            t52.00           165.00        t.\6.00           14:?.50            J3.50     i           160.CO             i3:?.CC           1!?00-         !10.50
                                                                             WAGES
                                                                    B    I   HOURS                                                                               32.00                                         i                                                                                                  32.00

                                              0~06                  B                                40.00     165.50                              92.50                                                                                                                                                         47S.OO
                                                                             WAGES                                                                                                                                                                                                                     I
l Dordcn. Chester                                                   B                                           SO.DO                                                                                                                                                                                  I         120.00
                                                                             WAGES                                                                                                                                                                                                                     !
                                              XXX-XX-XXXX           8        HOl>~                                                                                                 40.00             33.50                 129.0G              74.00           17:'00.          9£:00         199.oo   I
                                                                             WAGES
                                                                    B        HOURS1                                                               101.00        176.00            l59.SO             36.50                  1;~.50             t.S.00          173.00           "?ll.DO       199.00         1   no.so
                                                                             WAGES!
LFonlCCa. M-.:.no:t. Ouillcrmo H              OOO.QO-l323           B        HOURS'                                       I       ·~.oo           164.0D        170.50            :59.SO                                    118.50             68'.00   l       1'3.00          91.0D         159.00         1.181.!:0
                                                                             WAGES                                        I
                                                                    ii   I   liOL"RS
                                                                             WAGES
                                                                                                ____ ---+---1S. so-t___r_•_.o~o+-_ _1~6C~.oo-'-11,_____·~1s~9~.s_o..__~35~.oo-t--·-1~0-1.~oo-t-------+-- -·---1-------1-------+-                                                                                 655.00

                                              000-CC-"'1!~0         a .. i   HOURS                                                                                                                                                                                                                               235.00
                                                                             W.:,.GES
                                               000-00·3535          8    f   HOURS                   >8.00      99.50            U9.00                                                                                                                                                                           296.SO:
                                                                             WAG.ES
                                                                             HOURS                   46..50    161.50            229.t>O          2t8;oo         l~'.00           15:!.SO             '4.il()'              16ll.OO:          :?F.00           209..SO         B6.50          150.00         !,909.50
                                                                             WAGES
                                               XXX-XX-XXXX          8        HOURS                                                                 88.00                                                                                                                                                         183.00
                                                                             WAGES
                                               000-00·2257     !    B        KOtiRS                             80.0'J I         209.SO           164.00         l~!.00           !>..SO              35.00                 12..100            7~.00                            91.00         150.00         1 '-<0.00
                                                                             WAGES
                                          I    000-00-ClSS          B        HOURS                                                                               160.00           157.SO                                    IC--.00                                                                              4..<4.00
                                                                             WAGES
                                                                    B        HOURS                                                                                                                                                                              121.00         156-00         144.00             .(2l.OO

                                                                    B        llOOR.'>                4iJ.OO    130.50            IS...50          :ss.oo          90.50           142..SCt'i          39.50                 JS3.00             66.00                                                          l,07L50
                                                                             WAGES                                                                                                                                                                                                                     I
 j[mho(f.   M:Lcthfw                                                         HOURS                   40.00     139.00             34.00            90.00         13:1.00          l35.51                                     3S«I              10.00                             19.00                           1Ll.OI
                                                                             WAGES
                                               000-00-633-1    l    B        HOURS                   40.00     160.00            l"!0.00          !IS.SO                                                                                                                                                         48S.SO

                                               XXX-XX-XXXX          J3                                                                                                                                                                                                                                 I         126.50
                                                                             WAGES.__ _ _....__ _ _......__ _ _ __.__ _ __,_ _.....;_....__ _ _ _,__ _ _                                 -'----'------------'----....l.---....l.i____,____'--'
                                                                                    Case 6:18-bk-00263-KSJ                                                               Doc 92                       Filed 06/06/18                                 Page 28 of 50




District Council 7B 1-:mp1oyec Benefit JiuD.ds


                            EMPLOYER: E'.xt."elctcch C~ :and Appliatiom LLC                                                                          REVlEW PER.JOO: Jaru.tlX)' 1_201.S. thtou~ Apn11•1, 2018.                                             Rolson   Ji~or   Od1cieney tRFDl~
                              ADDRESS: '221 N.:Hwy27,Suitel,Oa:nont,FL 34711                                                                                     AUDrroR.; Jackie Coyle:                                                                   B)Con'lrihvticms:~ on alt employees:                  pnfoaningcovui!d w~rlc
                              eoh-r'ACT: IA"A'fC'ltCC MW'!ii.t
                            ?MNU1'.tBER:   lS:?-)94-:2.lS~




                     2017                                                                                                                                                                        Paycha P:ayroll
                                                                                                                                                                                                 Other Pairr.kD

                                                    SS Number          RFD                          JAN                                                           APR                MAY              Jl.'N         07/01-07/ZZ          07/ZJ-07/31           At.:G                      SEP                    OCT          NOV                m:c              TOTAL
                                                    263-9~1458     i    B       I    HOURS                                                                                              !6.00                             163.00                20.00             l:ZS.00                   113.<!0               l'.!9.SO                                            569.50
                                                                                                                                   i
                                                    OOO·O<PO?<     I    B       I   HOURS                                16.0C i                 !.!'7.00            JCS.00            12'?.00                                                                                                                                                                        408.00
                                                                                    WAGES
IMam::rc. Luic                                      583·57-:PJ     I    ll          HOURS                                ~0.00     i             liS9'."iO           lSl.00            119.SC            1:?G nc               ·120.00          ..::o.oo             ~l   O..'!              IJ.J.CO               Jl1.00                         115.00            LB7.00
                                                                                    WAGES                                                                                                                                                                                                                I
IMclntosh.. K.nm                                    OOO-OM32"      I" B             llOURS                                                                                                                                                                                            ·-----r-------+--86-.5-0-+--l,-.,~"'7.-00-+--~24-3-.5-0-l


                                                    000-00.::;49   !    B       I    HOURS                              31.00                    "177.CO             16-1.~0           105>-~'           9MO                   1•9.SO           3950·               !3'?.50                  :1.1.00                J.S.00                                          1156.90
                                                                                    WAGES
JMc-~,;cnvM                                         000-00.5710         B           HOURS                                                                                               :?500            143.50                145.50           34.00               1-13.0C I                lSl.00                171.50         1~5.00          100   so
                                                                                    WAGES
                                                    000-0~100           B           HOURS                                                        160.00             1&6..50            li650            116.50                 lll,00                                                                                                                                "29.00
                                                                                    WAGES
                                                    000-00-:mo          3       I   HOURS                                                                                                                                                                                                                           .;s.sc        161.0C


                                                                                     HOvllS                                                                                                                                     32.00           40.00               13'1.00                  13.2.00               !<8.10         lJ.4.5l!        161.50             78::50
                                                                                    WAGES
1 r~   ....R.mnonA                         l        000·00-0?29         B           EIO\JRS                             39.50                    l!O.OD              166.00            171.00           1-lO.SO                12.S.!O          JJ.50               104.50                   15650       i         \67.50         1?650           160.00            I..521.00

,r:.P:-'-"'""'"'-:v.m=-'"·e1::-------·-T·-o-c~().O().--Z-=----,..--.,B,,..--,---w,,,~~"'~"-ms""-l----+----+-----1-------+----+-----+-----+-----+----+------l'-----+---13-.o-c+---1-9-2.-oc--1----2-1-o-.oo-1
                                                                                     HOvl!S                              32.:50                  163.00              Z0650             i.a7:oo           16:.00                154.50           36.SO               101.SO                                                                                          I 003.50
                                                                                    WAGES
                                                                         B          E!OtiRS                                                      l'Z.0..JO           1°1'?.00            8.00.           !39.00 [                                                   lSl.50                   l•T3.0Q               15'.00         163DO           15:?:.00          l.419.00 I
                                                                                    WAGES                                                                                                                                                                                                                                                                                 .      i
I Re.Eck. StcVcn J                                                      a·          HOURS                                                                                               32.00            120.00                ~o.;.oo           40;00              ll0.00                                                                                            406.00 '
                                                                                    WAGES
fRcvnow William                                     XXX-XX-XXXX         B           HOCRS                                40.0!>                  1"1.50              J'0.50            1"5.50            JOO.OD                106.00           39;00                                                                                                                 802.50

                                                    OOO·OO-OOSS    1     B           HOURS                                                                                              64.00             ~1.00                                                                                                                                                       ?05.,00
                                                                                     WAGES
!Roscll.Ju:inL                                      XXX-XX-XXXX          B           HOCRS                                                                                                                                                                                                                          .60.00        161.00          173.50
                                                                                     WAGES
                                                    !63-45-1545          3           HOL1!S                              4C.00                   l'?0.00             l(>(J.00          !7.S.00           164.00                147.00            so.oc              200.00                                         200.00         :200.00         24?.00            1,942.00
                                                                                     WAGES
                                                                                     HOURS                                                                                                                                      23.00            3-J..OO             ?6;50                     14.!iO                                                                 14J.OO
                                                                              WAGES
j"W.tJ=. Jobn 0                                     OOO-OC-4093          B     HOURS                          I                                   29.50              1os.oo            1-16.00           153.So                11650             37.so              t:is.oo       I          127.00                 90.00                                             936.00
                                                                              WAGES                           I
                                                                   !TOTAL HOURS                           -   I        7'J7.oo                 J.ll o.oo           J.619.DO          3.710.40          l.447.CO              J.456.01          82.":'.50        '2.5194.!"0       I        2.342.SO              Z.9'6.SO
                                                                   !TOTAL WAGF.S     S                        Is                           s                                    '$                s                 s                    .s                s                      is                         s                               s               ,$


                                                                                                                                                                                                      AmoancDaie
            FUNDS                                      RATF.S          9/Jll6       71!/J7
 HEALTI! & WELFARE                             S      h<>ur             S<.60           s:so                          J.~666.:?0       \   s 14.306.oo s          10,~1,oo  s l'.067.84 ·s            l.S.856.:o I s         16.934.45   s    '-,054.75    s   I~    73.05            s   11.4"'8.15         $   l~.682.85   12.t.54'.¢~.    S L1:?06.3S      S   t:S8"7.?i.79
 D.c :rsrn                                     S      .bouz:            S0.90          sa.90                            717.30     's            799.00 S          3 '57 10 s 3.339.36 s               J 102.30 I s          3.110.41    $     "!~.75           !..695.05                  2,108.:?S         S   "'"696.85    •     2.45     s  3.160.35     s     29.963.17
 78WCALP.K                                     S.    r- hour            S0.00          SD.00    S                                                                                S                $                I$                                                                 $                                                                      s
 DUES CHECK OFF                                                                        3.S~b.   S                 s                                                              s                s                 s                                      s                          s
                                               TOTAL AMOUNT DUE:                                s                 s   .$.JSJ.50                17.IOS.OO     S    19.904.SO          20,407.20    S   18,958.50     S        20.0.SO~    S    4,799.SO     S   J;,368.10              S   13,S!lti..\O       S 17,379.70     1-1..)86.90     s 20.Jll6.70 s       !Sll.690.96




                                                                                                                                                                                                                        .,   ·----------------------------------------~
                                                                                     Case 6:18-bk-00263-KSJ                                                      Doc 92                        Filed 06/06/18                         Page 29 of 50




D~trid.   Co-.ncil 78 Employee Bcodit Funcb


                          EMPL.OYE.R.: E:tcc:lettxh Ccatil:.gi and Appliat.ti\ln$ u.C"                                                        REVIEW PERlOD: Jouuwy 1.2015 throus)l !\pcil U, :?<HS                                        Reaion For Dsficicncv <RFD>~
                            ADDRESS: :!'.?I N. Rwy :!7. Suite 1,..CJcmiant,. 'EL 34711                                                                   A.t.1DITOR: J3c.L:ie Coylo                                                        B) Contnlm:ionic due on all employ~ pc:rfonning covcn.-d w->:I.:.
                            CONTACT: LaW«"ncc M'llZCa
                          PH NUMBER: 3S2·394-:?15S


                   2018                                                                                                                                                                    P;aye:hcx Pa):TOll
                                                                                                P:ay Period
                                                                                                          P2yPcriod                                              Contribution OUC' far Kll'Ol\."D      Union Member P:alnten
                                                                                             Wttk Eadiae, Weel:.:Endine
                                                 SS'Jlilumbcr         RFD                     011111-1/13  01114-1/JI                   FEB               M.\R             .APR                 ~A\"                JliN        JUL             .-\t'G            SEP             OCT                    NOV             DEC       TOTAL
                                         I      595-<IS-3'.'81      I B I             HOu"RS         8.00                                                                                                  l                           I                                                                                               8.00
                                                                                      WAO".S                                                                                                                                           !
                                         I       :?65-61-3362       I     8      I    HOURS           ':':.DO             s6.oo·          '4.;\0             t;.~.so           S<l.OC                      I                           I                                                                         I                     4S!:i.ClC-
                                                                                      WA.GFS                                                                                                               I.                          I                  I                                                      I
                                         I       018-74...361       I     8      I    HOURS           ~:.D\>              67.00          1$'.00              :?09.00           ':'O.SO                     !                           I                  I                                                                            S?S.SO
                                                                                     WAGES                                                                                                                                             I
ir..w.on. Philio                         I       S9~-56-'.i:4'.?I   I     B      I    HOURS                                               50.00              19~.so            37.00                                                   I                                                            r                                  :?79.SO
                                                                                     WAGES                                                                                                                                                                I                                         I
                                         I       266-1 · -3SJ.S     I     5      I    HOURS           80.{JO              0().00          SJ.00              200.00            80.00                       !'                          I                  I                                     L                                      'S:?0.00
                                                                                     WAGES
                                                                                                                                                                                                                                                                        ·- ,__---J
                                                                                                                                                                                                                                       I                                                            I

                                                 266-61'-l.!~7      I     5      I    JfOURS
                                                                                     WAC-ES
                                                                                                      ~!.00.

                                                                                                                I
                                                                                                                          64.00          B•t.00              l~:?.50           30.00                                                   I
                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                                           1--- ---... -       ..   f--·-· . .
                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                       ~58.50


                                                                    !TOTAL HOURS
                                                                                               s
                                                                                                     27J.OO              267.00
                                                                                                                                   s
                                                                                                                                         49S...<o·           967.50           J-04..50
                                                                                                                                                                                           s                                s          ,s                 :s
                                                                                                                                                                                                                                                                                           -        ;
                                                                                                                                                                                                                                                                                                                     s
                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                               s
                                                                                                                                                                                                                                                                                                                                     2..307.SO
                                                                    !TOTAL WAGES                         - IS                                                                                          •        $                                                          05
                                                                                                                                                                                                       ·~'"'"'··
                                                                                                                                                                                               ..\mounl Due
                   YUND5                            RATES               711f17 I     7flf17   I
 HEALTII ;,_ WEU-AR.E                        S per hoar                  S4.90 j        S4.90 I s   1..337.7~           1..308.30 • s   ~427.95            4.740.'S         !.-49.2.C.S    s                    s                                             s              s                                                      ll.306.'75
 D.C. 78YTI                                  S l)e:r hour                :lll..901      ~:SO   IS    245.70              2·!0.30 . s     44595       s       s-o.cs            ::?'?4.05   s                    s                          s                  s              s                                                      7..07~."?.I
 "'8 I.OCAI. PAC                             S "OC":"hour                S0.00 I        $0.0Q.j $                   s              ;S                s                                     s                    s           ~                                 s              $
 Dt.:Eli CHECK Off                           %0.f-w,;i.gcs               3.<0%1         l.S°"ol S                   s              rs                s                                     s                ·S             ~s              s                  s              s                                       s
                                             TOT Al. A.'1.1.0UNT DUE:                          Is   J_"iSl.40           ''.:t!!-!O Is   2.!m.90      s     S.611..SO   s    J.71$6.10 IS                        s          is              $                  s                                                      s              1J.J8J..30.
                                                                                        Case 6:18-bk-00263-KSJ                                               Doc 92                Filed 06/06/18                    Page 30 of 50



 Di:slrkl CoE1Aci1 78 .Employee lknclil Fund:)



                                   EMPLOYER: £>celd<ch ~and Appli02Co"" Ll.C                                                               REVlEW PERIOD: January L20l5 thro1-'8h A?ril I~, '?Ol8                         ~ft J."or 1)cficicn!¥!!FD}:
                                      >.:>DRESS: !:?: ?'. E!wy 27, S:Utc ~Cl..,..,,,,_ fL 34711                                                 AUDITOR: J~kie.Coylc                                                      8) Conrnbuti~ro; due or: A:U c-mplayees pcr(acning cO'VC:f9d work
                                     CONTACT: l..:wrencc: Muzi11.
                                   P!i 1'"\IMBER: 352-394-?!55



                         201¥                                                                                                                                                   "Pazc.b.:x. P!!!oD
                                                                                                     J!::lyPn'iod     hyPerlod                                                  Other Painters
                                                                                                    Wede. Jl'..ndi.RS: Wttk Endine
                         Nap:i,r                       SS Nombcr            .RFD                     01/0l-l/IJ         01114-1131   ·ne              MAR           APR              MAY             JUN       JUL             .\I'(:           Sl!:J>          OCT            ~ov            Dl!:C        TOTAL
IA<mr-i Jctrerv w                                      OC0-00-:7:?9          B          HOURS              S<.00           79.50      16!.00           W8.00         80.00                                                                                                                            i      5".'":.5C
                                                                                        WAGES                                                                                                                                           ·r
IAndC."000. o.n.Jd R                                   OCll-00·:?270         s          HOURS              ·16.00          55.00       74;SO           16S.SO         67..50                                          I                                                                                      409.S-O
                                                                                        WAGES                                                                                                   I                     i
k~bcll.Fabion                                          OC-0-00-7043          B          HOURS                                          16.00                                                                                                                                                                   16.00
                                                                                        WAGES
ic~bcl.Kevin                                           000-0{)...1100        B          !!Ou'RS                                        24.00                                                                                                                                                                  24.00
                                                                                        WAGES
INt11"'1dcz. M"'°"'                                    OOO-OO-x4 J:Z         B         HOURS                                           82.SO           !.It 2.S       6-1.00                                                                                                                                 21!".~S
                                                                                       WAGES                                                                                                    I
IFemmidc:z: ir;·Nci                                    00~~>:491             B·         HOURS                                                                         10.00                     I                                                                                                              10.00
                                                                                        WAGES
i.FoMCCa l.........,   (",a                            ODO-()~               e          HOu'RS              6LOO           6'.CO      156.00           199.00         80.00                                                                                                                                  !'63.00
                                                                                        WAGES
~Fow:cca.IA.-.ocz:..Mi                                 OOG-00·3"72           B          HOl:R.S             6LOO           lS.00      l~.00            ll~.00         "2.00                                                                                                                                  <IKOO
                                                                                        WAGES
· Fonxca. MunCIL Gail H                                XXX-XX-XXXX           e          HOURS               89.oa·        1$6,00      114.00            72.00                                                                            l                                                                   431.00
                                                                                        WAGES                                                                                                                                            I

'!°"""'1a-:S•1n.ill:u1. Humberto                       XXX-XX-XXXX           B          HOURS                                          9'.".00         221.00         77.SO                                                                                                                                  395.S~
                                                                                        WA.GES
~.,............ i..                                    000-<l0-9"-34         B     l    RO!i'RS             SO;S-0         SO.DO       1Sl6..SO        '.!3'.'.00     90.SO                                           I                                                                                      ~4.SO
                                                                                        WAC'i.ES.                                                                                                                     :
1Garcia. L-W.s F                                       000-00-2~'7           B          HOlJRS              61.00          62.00       156.00          199.00         -o.oo                                                                                                                                  $48.00
                                                                                        WAl..ies:
IG""""1oz.A.,.~o                                       000-00-79'."8         B          l!OURS              40.00          80.00       144,00          183.00         69.-00                                                                                                                                 516.00
                                                                                        WAGES
 llmhofl: Mltth•w                                      000.00-6140           3          HOURS               .;:;.oo        !-'.250     111.00          i83.S'J        36.UO j                                                                                                                                438.00
                                                                                        w,\GES
 IJ.:>:i~ Jirmmc                                       000-00-222[           ll          H01.;11S                                      153.SO          221.00         74.~0                                                                                                                                  -449.00
                                                                                        WAGES
 IMam:ro~ Lui.                                         SSJ-57 -~171          B          HOURS               <9.!Y.>                    108.00          j84.00         53.00                                                                                                                                  39'.00
                                                                                        WAGES                                                     i
 !Matthews, Pstrict                                    XXX-XX-XXXX      I    B          HOURS                8.00            8.00      m.<~       i    148.25         54.00                                                                                                                                  .l84,00
                                                                                        WAGES
 l!>!atth-........,,                                   000--00-8304          B           HOURS                              14.00                                                                          i                              t                                                                    1-'.0D
                                                                                        WAGES
                                                                                                                                                                                                                                                                                                      ''
 iMclnt~ Kemar                                     I   OOll-00.0327           B          HOORS              75.00          6550         25.SO                                                                                                                                                                 166.00
                                                                                         WAGES
 nMcLcod..J~                                       I    OOll-00·5710         e           HOURS              6-1.00         79.00       157.00          "200.00        80.00                                                                                                                                   SS0.00
                                                                                        .WAGES
 ~Monteio.~0                                            000-00...2920        B           HOURS              53 00           6<.00       64.00                                                                                                                                                                 181.00
                                                                                         WAGF.S                                                                                                                                                                                                       I
 ~MVC"'...s,D.,,id                                 I    000..00-61-47         B          HOURS              7S.00           S650       l47.:S            87.00        :?.j.00                                                                                                                         I       389.os
                                                                                         WAGES                                                                                                                                                                                                        I
                                                                                      Case 6:18-bk-00263-KSJ                                                        Doc 92                               Filed 06/06/18                         Page 31 of 50




                              F.M?LOYER: Eotce.leteeh Cos~ an.i A.ppli<ation< LLC                                                             RE\1EWPERIOO: hm1:wy l;20l5throngh.April l4,::ZOJ8                                                 R92S011 F OT De11.dHey <RFDl:
                                ADDRESS: 211 )i. Fb.-y ~.Suite 1, Ciennont.. FI~ 34711                                                                       AUDITOR: J•.;:;. Coyle                                                              B) ContnDuti~ Ou" oc all empleyccs per£.~ covcn:d WQric.
                                CONTACT: Lawn:na: MW::.
                              Pl! NUMBER: 352-394-2155




                    <2018                                                                                                                                                 ··----~hc<J'>v<oll
                                                                                                  P2y Period      P.ay Period                                                                   Other· P:ai.nten
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                    !S::amc                        SSNumbc-r          RFD                          01/01-1/U   01114-1/31              P"EB                   ~UR                 APR                    MAY             JUN             JllL         AUG           SEP           OCT          NOV              DEC       TOTAL
l~. . R.-unon                              I      OOO-W-96S9      I    B         I   flOL>1lS           6!l.OO          72..00           143.00      l          13•.00              61   5()·                                                                                              I           I                      ~10.50
                                                                                     WAGES                                                           i                                                                                                                                    '1           I
                                                                  I s I
IPotmlr.~R                                 I      000-004875                          S()[;"RS
                                                                                      WAGES
                                                                                                                                           gs.oo'                '16.00                                                                                                                    !
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                                           I                      I              I    l!Ot;"RS                                                                  199.00                                                                                                                                 I
IP..,...Oen"ick                                   000-00-2S82          B
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!?ow.n. Mm S                               i      0~'.'148        I    B         I    HOURS                                               LSl.50                 SS.OQ                                                                                                                                 I                      20b.)0
                                                                                      WAGES                                                                                                                                                                                                            I
1.,.,.,,.. 1.1an.. 1.eo                     I     000..00~3752    I    B         I    llOl'RS           40.00            SS.'JO           ~!1.00                                                                                                                                                       I                      218.00
                                                                                      w.-cES                                                                                                 T                                                                                                         I
IRosell Juan L                              I     000-00"'93..~   I    B         i    HOURS              53.00           60.<m            ! l'.00                                               i                                                                                                      I                      ':.'.74.00
                                                                                      WAGES                                                                                                                                                                                                            I
ISrrr.tt.. Gordon                           I      253·4~-1545    I     B        I    HOURS             93.00            9-1.00           200.00                250.00             100.00       I                                                                                                      I                      JJ7.00
                                                                                      WAGES                                                                                                                                                                                                            I
                                                                  itoT AL liOURS                      1.lS9..SO       l.2~00           J,288.00                J,477.SO           1,250.sO T                                                                                               I           I                   10 490.50
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                    ru~DS                            RATES            711117         711117
 HEALTH&WE!..F.US                               S0<rhow:               S-1.:10          S-190         S.828.SS    s   6.296.$-:l ! $   t6.lll.20              J7.03~.7S I s       6.Ui'.45                       j   s             's            s              s             $                             s         $    St -'03.4S
 D.C.78ffi                                      S~hour                 S0.90            S0;90         l.C70.S5    s   I.ISO.SO Is       :?..959:20       s     ~.129.75 IS        l,l2S.45          s            j   s             ;s            $              s             s                            ·s         $     9441A!'
 "'"81.0CAl. PAC                                S"CC: hour             S0.00            Sll.00                    s               .s                     s                ;s                        s            •S                i:.           $              s             s                             s         $
 !ll.'F.S QJECI:: OFF                           % ...,f~               3.50%            3..S°"o                                   IS                     s          -     Is                        S·         - !s            -   Is            s              $
                                                                                                                                                                                                                                                                s
                                                                                                                                                                                                                                                                              s                             s         s
                                                TOTAL AMOUNT DL'Ei                                    M!l!'.10    s   7A~J.OO,     s   l9.070AO          s    20,169.$0   f   s   7,252.90          s            ·S                Ts            s                            $                             s         s    60.844.90
Case 6:18-bk-00263-KSJ   Doc 92   Filed 06/06/18   Page 32 of 50



                         EXHIBITB
-----------------------------
      Case 6:18-bk-00263-KSJ Doc 92 Filed 06/06/18 Page 33 of 50
                                                                                                                                          ----------   ---------·-·-··




            Novak Francella
                        LLC   CERTIFIED PUBLIC ACCOUNTANTS




        IUP AT Industry Pension Fund



                                                     PAYROLL COMPLIANCE REVIEW




       EMPLOYER:        Exceletech Coatings and Applications LLC                                         EMPLOYER# E02739

       ADDRESS:         221 N. Hwy 27, Suite I, Clermont, FL 34711                                               PHONE# 352-394-2155

       FAX#:            352-394-5422                                                                              EMAIL: lm@excelcoatings.com

       DATE REVIEW COMPLETED:                   November 4, 2015

       RIC:VIEW PERIOD:                         January l, 2012 through April 14, 20 l 8

       CONTACT:       Lawrence Muzia                                                                         TITLE:            President

       PERSON FUND IS TO CONTACT: Lawrence Muzia                                                             TITLE:

       ENTITY TYPE Limited Liability Corp.                                                 BUSINESS ACTIVITY:

       AVE RAGE# OF EMPLOYEES:                                                            AVERAGE#OFilJPATEMPLOYl.:ES_:- - - -


                                                                  DOES THE EMPLon:R Sl~BMlT                                    IS THE OWNER ON THE
       OWNERSHIP-PRINCI PA LSfflTLf                    %          C(>NTRIDUTIONS FOR OWNER?                                    PAYROLL?
       Lawrence Muzia                                             No


       BANK ACCOUNT NIJMRER:

       DOES THE EMPLOYER HAVE INTEREST IN ANY OTHER RELATED OPERATIONS?

                YES                                                                 NO            x
       IF' YES LIST NAMES:




    UPDATED 511412018

                                                                        NEW YORK : 4S(I Seventh A\·em1c, 28th FloorI New York, NY lOIZ-3 j 2 I7..Z79A2112
                                                                 PHILADELPHIAI One Pri:sidcntiul Blvd, Ste 330 j U"I" Cynwyd, PA 19004 I 610.668.9400
                                                             WASHINGTON, DC i 7226 Lee DcFortst Dr, Ste 201 ! Columhi>, MD 2 llJ46 ~ 44.l.H3Z.4UU9
                                                           CONNECTICUT ! ~55 Route ~O. P.O. IJolC. b98 I Killingworth, Connccric 01 0'141Y I 860.663.1190
                                                       BOSTON I Independence Wl1"rf, 47ll Atlnnric Avenue, 4th Fluor i llosron. :0,IA 02210 I 617.500.6571!   ~»J:~
                Case 6:18-bk-00263-KSJ                            Doc 92       Filed 06/06/18            Page 34 of 50




     IllPAT Industry Pension Fund



                                                       PA YllOLL COMPLIANCE REVIEW

                                                                    SUMMARY

          EMPLOYER: Exceletech Coatings and Applications LLC

    REVIEW PERIOD: January I, 2012 through April 14, 20JH



                                      1.l_l.P,A.T
                                  Pension Fund               FTI Fund      LMCFFund             PAT Fund          Total

                   2012           $     39,750.45        $     1,208.07    $    1,208.07    $       604.02   $    42.770.61

                   2013                20,556.93                 614.53           614.53            307.28        22,093.27

                   2014                37,497.40               1.005.32         1,005.32           502.66         40,010.70
        General l'nsecured
       01/01/20 I5·7/22/20 I 7        477, 119.1 I            11,243.71        11 1243.71         5,621.88       505,228.42
              Priority
        07/23/17 - 01/16/18            82,937.84               1,937.80         l,937.80           968.\12        87,782J6
     AdminlslrAtive Expensrs
       01/17118 - 04/14118             48,515.94               1.1.1:u5         l. 133.55          566.79         51,349.83
                                                        ·---~:..,....·--
    TOTAL CONTRIB. DUE $ 706,377.67                      $    17.14:V>8    $   17,142.98    $     8,571.54   $ 749,235.18

    Interest through 00/00/2018        39.'106 ..1•1           1,006.59         1,006.59           504.07         41,923.59

    Liquidated Damages (20%)          I~   1.275.53            3,428.60         3,428.60          1,714.31       149,847.04

    TOTAL AMOUNT DUE              $ 887,059.55           $    21,578. 17   $   21,578.17    $    10,789.92   $ 941,00S.81


    RESULTS OF PAYROLL COMPLIANCE REVIEW:

        A) Contributions due on till hours worked
        B) Contributions due on all employees performing covered work




UPDATED S/14/2018
                                                                                                  Case 6:18-bk-00263-KSJ                                                   Doc 92                   Filed 06/06/18                                        Page 35 of 50


 IUPA1· Industry Pension Fund


         EMPLOYER;        E""<cclcteeh Coilling:s and ApplLCllions U.C                                                    REVIEW PER.IOD: Janual)' l.2012thr.aughApril 1-4.2018                                                                  Rtte• ~·!i!r De.ficicnSl· !!El!J:
          ADDRESS:        221 N. H\lilj'27.Suitc1, ClcnnonL FL 34111                                                           AUDITOR Joannn KtsZlo .· .ladc.1e Coyle                                                                           Al ContnbLltiorn; due: on.all boW'S '\\.Vrked
          CONTACT:            L.awrccce Muri:t.                                                                                                                                                                                                  B) Contributions due on an employees pctfor.ning eo~ "Wrlc.
        PH 1:'.ul>mER:        352·J94-ll SS




           2012
                                                                                                                                                                                   Cocrtribtarion Dnc

           Name                   SSNmnber                  Looi         RFD                          JAN              FEB            MAR                .\PR              MAY              JliN              JUL                  AUG                SEP               OCT                 NOV                  DEC                TOTAL
I Caitleman. RoY         L si6-63-7176 I DC78 I                           n     .'.HOURS               188.50           166.00         196,00              i28.:50          li2.SO           :03.:12           158,00 I             :67.23             J;l.;.00          l.51.50             219.25               193,00             ::.ios.so
                                                                                      WAGES
i~CurlTssTcnv            ·,       ~s.-27...gg39j            DC78 I        A       l RotJRS             (22.00            4!.00          :2.50               Cl.SOI           47.00           (J9.00)             (5.50)'              17 so             [9.00)               (27 50)          44.00                   I.SO I            70,00
                                                                                    WAGES             (363.00)          693.W     s    371.2.S      s      (24.75) $        nsso s          (6435[))            (90.75), s          ::!88.7~          (148.50)      s       (453.75)         726.00                 ~.IS             U5soo
[:O..buekk:t. Michael ; ?.6l·S7..6S13 t DC78                              B       I HOURS              167.00                                                                                                                                                                                                                          167.00
                                                                                    WAGES:                                                                                                                                                                                                                                     s
·ir.-....h. Src-1l.:n    1        Gl"S-74-4361   '.1        DC78          B       I HOIJ'RS            201.95           127.SO         146.00              107.JO            58.10           11!5.95            63.75               119.2.'              92.C5              132.25           127.42                IJ0.25            1.412.77
                                                                                    WAGfS.                                                                                                                                                                                                                                     s
IH""os.Dalc              I 589-5~1                          OC78           B      ! HOURS              145.SO l          99.50         151.40               90.sn           !60.00           1gu1               14850               .:!71.~             129.95               l4C.SQ                                                  l.S25.l 1
                                                                                    WAGES                                                                                                                                                                                                                                      s
l~tc;;:i,Mario           j 074-8fl...4{i12:                 OC7S           B      ! HOURS              230.00            4800            39.S'O            18-l.OO          !57.30              8.16                                                                                                                                  666.96
                                                                                    WAGES
!PoUQ.Qe-. Denick        l· 422·39-2882 I DC78                             B      I HOURS               ~.00                                                                                                                          96.00                                                                                            144.00
                                                                                    WAGES
lRoOllcrs. Qu:mdric:k 1 5q3.\&-2114               ~        ·ocn            B      I HOL'RS             19).00                                               8900             SMO                               1:n5                  l50;50             136.SO·             137.00            •O.OG                l~.50             !.120.7S
                                                                                      WAGES
~ Smcha. Ser.:10          ·i      26l-99-063o     I         DC'78          B      !i HOL'.RS!          156.00           100.00          1:0.00                                                                                                                                                                                         jJ6.00
                                                                                      WAGES                                                                                                                                                                                                                                    s
''5cruJO:$. J:uncs        I       26&-77-4689 ,             DC78 I         B      1 HOURS              16a.OO           160.00         198.50              16S.OC           179.50·          205.50             179.00              25J.1~               76.CY.l                                                                     U1!4.$2
                                                                                      WAGES
 'Thomas. Robert              I 3'17·!16-2>46,              DC78 I         -B     I HOURS                                                                                                                                             18.00                                                                                             15.00
                                                                                      WAGES                                                                                                                                                                                                                                    s
 IThomosoll. Ronnld I XXX-XX-XXXX 'i DC' 78                                A      i   HOl;'RS           232.00           JS.00                              96.'7             89.00.                            i=·<.25              ISO.SO             136.5C            137.0C              92.SO                17$.00            l "74.i2
                                                                                       w...GF.S       4.020.<lO         570.0C                      s    t.603,::}2   s    l,864.10                           2108.00              2,868.21'          2.5&:?.30 •   s   ?.192.0C        s   1.480.00             2.960.00           ~.59
 iTrn"VJos. JC"TV             I XXX-XX-XXXX I DC'78.                       B      I HOURS              209,00            94.SC                                                                                                                                                                                                         )03..50
                                                                                        WAGES                                                                                                                                                                                                                                  s
 lV.. ~· .. ""J~              t   ss1-27w~~~~          I    DC78           B          i HOURS          "124.00           l~.00                                                                                            I                                                                                                            15600
                                                                                      ·WAGES                                                                                                                              I
 CWalkcr, Jcror:i• Dukd 264-81--0IJS                   I    DC7S           B          I HOURS            T.?.00         144.50           7-1.00            148.50            iS:!.00           67.00                      T                                                                                                            i,ss.oc
                                                                                       WAGES                                                                                                                              I                                                                              I
                                                                        ITOT AL HOURS                 2.113..95 I      1.112.00        947.90            1.007..67         1.l6-'•.SO         7J&.2().          791.25        1.34-a.OQ                 716..00              671.75 I        ·53.UO                66$.25           ll ..745.63
                                                                        ITOT..<.L WAGES               3.6S7.0t I s     1.263.00         3il.2S      s    1.579.17     s    2.639.60 ' s      (6-13.50)   s    2.017,:C;. I S- 3,1$7.0:? l         s   2.433..80         i.733.:!STS-iiiib:OO                 s··-..2~9M:1s          D.4W9
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  PENSION                                                  St>Crhour        S3.38
                                                                          SJ.JS                   s   7.145.!S     s   J.7SS.S6   s   3.::l:00.90   s    3.-lOS.9:?   s    ;,732.87    s    :!_495.12    s    2.674,43         s   4,543.02       s   ::!..420.0S   s   2..Z?C.52       s   1.802.ll         s   2.!4.S,SS     s    39.700.23     1
  rn                                                       Sot:rhollr     SC.10
                                                                            ·S0.10                s     !Jl.40     s    lli:20    s        94.7'}   s       100.77    s      110.-14   s       73,8'.    s       79.13         s     134.'I       s      71.60      s       67.18       s      S!.32         s       66.53     s     lJ74.S9 I
  LMO                                                      SDCrbour   so.to S0.10                 s     211.40     s    111.20    s        9<.79    s-      100.77    :s      110.44   s       73.8::?   s       79.13        .s     1344:        s       ''-60     s         67.IS     s      $3.)::?       s       66.:5:'   .s    1.174.'59    i
                                                                                                  s                s              s                 s                 s                ·s                .s                                       s                 s                   s                    s      33.2~       s                 I
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                                                                                                Case 6:18-bk-00263-KSJ                                                                  Doc 92                       Filed 06/06/18                                       Page 36 of 50


II iPAT Industry Pension Fund


         Ei\..'lPLOY.ER; E.~lctcdi Couinss and Applications LLC                                                                REVIEWPERJOD: Ja:"luary I.20t!,hrouo1aApril 14.·2018                                                                            R$31son For Deficiency <RFD):
            ADDRESS. '?Zl N_ Hi.i.yZ7. Suitcl.Ck:miont.FL 3471 l                                                                               AUDITOR. .ktar.."lc: Kis-.do .-· I'1CkieCoyie                                                                   AJ Contributions due on 21fl hou.rs vrorkcd
          CONTACT: l..:.""1cnccMu=i-                                                                                                                                                                                                                           U) Coonibutions due 00 an cmplo~ ?erf'onnins CO\fefed wotk
        Plll'll.'MBER: 3Si-39.0-21 SS




          2'J12
                                                                                                                                                                  Conrriburion Due for:- •.\prH.tice Paialt:r:J.

       N:sme                   SS Nwaber             L.oa:l                                          JAN                 FEB                                                            MA\'              JL"N                JUL                  WG                St:I'               OCT               NOV                  D"EC                                     TOTAL
1Cruz1r,.Robcno            I 09S..SS-:2947   I       DC 78         I       A      I HOURS                                              ;                      f                                                                 107.22     I           1.00                                                                                                                  108.22
=====-~-~-~---~--...,w=A-=G=F.s=1-----i----~-----··-"1r-----r------;r------+-::s-:::-:z.-=09=c:-:~::1:"11rs=----,1"9'"'_1'"'0-t-----r-----1----+-----+-----+-o----'~~
                                                                                                                                                                                                                                                                                                                                                                    $      2.ll7.63
l'->usdlJr. lorouhan I I 12-76-4822 I DC 7S I                              A      'I HOURS                                                                    I                                                                 S0.00 !             :ZS.00                                                                                                                    75.00
                                                                                   WAGES                                                                                                                                 S     43!.SO ! S          474.7S                                                                                                           s        913.25
I Roberts. IU:ith          I m-\14-9909 I            oc 7S         I       A      I HOURS                                                                     I                                                                 S0.00 I             71.60                                                                                                                     ?:U,60
                                                                                   WAGES                                                                      I                                                          s      934,49 i s !.394.04                                                                                                                 s      UZS.S.l
IRoloan. Anibal            ·I 5s<i-4l.-S391 I DC 78 I                      A      I HOURS                13 00)              33.00                                                                                                                                                                                                                                           30.00
                                                                                    WAGF.S      s       cs~ SIS)    s      f;l !:16 I                         i                 r                                                                                                                                       I                                           s        S5:;. 60
                                                                   ITOTALHOliRS                           (3.00)             33.00 1                   -                    -   !            -                   -              207.22 I             ?7.611                      I                               - I                       I                                 334.82
                                                                   /~ro~~Tt:AL~·2w~;:A~G~ES~::-::s:;:;:;J1.,s"'s:.56)::5:2s:::~~·1:1_...,1~6 .J.._r::s-,:::-:::.·:s:::-_-_,·:
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                                                                                                                                                                                                                                                                                     $
                                                                                                                                                                                                                                                                                                                        's
                                                                                                                                                                                                                                                                                                                        ts
                                                                                                                                                                                                                                                                                                                                                                               ):t.48
                                                                                                                                                                                                                                                                                                                                                                               16.7.;
 !'AC
                                                 TOT AL AMOUNT DliE                                       (1.2JlJ s          ll.20                         .,..!!..,,,,.,                          !" s                          82.llll       s     39.04                                            ·S                IS                                          ·s        133.92
                                                                                            Case 6:18-bk-00263-KSJ                                                          Doc 92                  Filed 06/06/18                                     Page 37 of 50


IUPAT Industry Pension Fund


        ~"iPLOYER:           Excelcteeh Coa.tit1.gs.and Applications LLC                                                REVIEW PERIOD: J.,,uary I_ 2012 thmui;h April 14;2018                                                                  Re-M011 •'or DC"racimcy !RED):
           ADDRESS: 221 N. Hwy 27, Sui1..:: I. Clc:monr. FL 347~ J                                                           AtjOrTOR: Jo.vma. Kinlo ,: .bckic Coyle                                                                           Al Contributions due on a?I hours worked
          CONTACT: Ll\l.TC11ce Muxis.                                                                                                                                                                                                          B) Contributiun.-c d"C.c ori al.I cr:iplo~ees pc:rform1~ c:o't'CC'cd. work
       PH N\.lMBER: 352-394-2155




          2013
                                                                                                                                                                                   C.oatrilmrioa Due
                                                                                                                                                                                                                                                                                                                   Less "N.ai:tCo\.-ered Wark•
                           SS Number                Loal            RFD                         JAN                                     MAR                                                                  JUL               AUG                  SEP                   OCT             NOV                DEC               OTHER               TOT AL
iCaulcm:in. .Roi.·       ; 526""6-J-78/6       I    OC7S I           B       I HOURS              144.SO I           173.00              :?1.:.00             191.~          17HS             ::?:&.00          7.2..00         195.00                38.00                                          I                            (54.50)            U73.9S
                                                                                 w.~GES                   I                                                                                                                                                                                          )                                         s
IC•diss.. Tc:m           i    545-:!7-8839     !    0(73    i        A       t   HOURS            (43.00)1           <I.US)               16.00               c:JSSI          3€.50          (19,0C)           (24.001           26.00                  19.SO)               6.49            62.50.             8.00                                   32.69
                                                                                 WAGES          (SnJ.69)"         (ml.41)               $269.21             {$228.0SJ       S614.30        IS319.77)         (S40l.92)         S437.58              (Sl59.89)             St09.2J.       Sl.OSJ.88 .         Sl34.64.                          s      550.18
IEnolish. Ct:.ren.:e · I      :?65--6!-3362·~       DC78 I·          B       I HOURS                                                                                                                                                                                                          8.00            12800               (117.<>4)            IE.96
                                                                               WAGES                                                                                                                                                                                                                                                           s
IJimcnC%. SteYc          I 546.()3·1243        ~    OC71! !          B       I HOURS                                                                                                                                                                  101.00               202.SO          22350               61.00              c.;03.00)           190.00

:RC2.l.Cad               J 265-89~:rr_z        t    oc·n             A
                                                                                 WAGES
                                                                             I HOl>"RS            (4S.5S)             9].15 !
                                                                                                                                                                                                                                           l
                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                               s         -
                                                                                                                                                                                                                                                                                                                                                       47.70
                                                                               WAGES            (S8S8.23)         Sl.81US i                                                                                                                                      I                                                                             s      930.!5
                         !                     l DC78                                                                                                        134..SO                                                                                  12<1.2$ i
·R~crQu.andrick               593-16-ZI 1.:.
                                                            '        B.      I HOt,"RS
                                                                              .WAGES
                                                                                                  109.75             137 !SI             IJ9.~7                              206.SO           18.00             <O..SO          lci:?.00
                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                           118.50           172.56            !OJ.SO             1868.12)
                                                                                                                                                                                                                                                                                                                                               s
                                                                                                                                                                                                                                                                                                                                                      600.86

j Schnnt.\CS. J:1mcs     1 266·77-4689 : .DC7S              ;        B       i HOURS               so.»                         l                                                                                                                               i                                                                                      30.00
                                                                               WAGES                                                                                                                                                                                                                                                           s         -
'.Thomn~.       Ronald   h XXX-XX-XXXX I 0(78 I                      B       '.HOURS               74.50             !'7.75              l!!O.IS              134.SO         !57.50          110 50            100.50           l62..00               "129.25              118.SO          197.SO             103.50            ft.Ol9.6~li           596.S3
                                                                                 W.~GES                                                             ;                                                                                                                                                                                         IS         -
:. VarP,ZS...Josc L      ;' XXX-XX-XXXX I DC78                  I  B ~ HOL'llS                                                                                                                                                                                              34.00          150.50             14675              (20045)i             uoso
                                                                        W.\GES                                                                                                                                                                                                                                                          IS
                                                                !TOTAL.HOURS                      :r?G.2.0           54?.$0              549-12              4-16.95         577.95          13~..50           l~S.itO          54~.1)0               379.(H)              47'9-99         819.56             55-0.75           (2.672.73)1         2-821.49
                                                                !TOTAL WAGES                s   {l.611.92)    s    1..Ss.6.97       s    269.?8         s    (228-0SJ   s    61.00    s     (319.7?)     s    (403.9:?)    s    .S37..SS       s     059-89          s     109-23    s    1,051-83       s    1:!-1.6-1   s                !S       1.480..!3

                                                                                                                                                                                           A.1no11nt~r

l~P""E!""S"'S'"'IO"N'-'-------+S,o_•crhour                          53.JS         S3.73     S     913.28      S    L.1133.0S IS         1.858.39        S   L.510.69    S   l.9!3.47 S      46<.75 IS         659.10 IS 2.03:?.85              S 1.413.67            S 1.790.36 IS 3.056.96              S Z;OS4.30       S     (9.%9.28 S          9.572-19
.rn                                                Snernour         S(!JC         "SO!O     s      ~7.CZ      s       ~.Z51S               54.98        s      44.70    s      "57.80 ·S     13.751$           19.SOIS     5450                s 37.90               s "'8.00iS 81.96                    $    55.08       s       {25727) s           282.17
ltMCl                                              Spc::d1our       SO. 10        Sll. \0   S      27.:J;?    $       5'!.!S    1   S     54.9S         S      44.70    S     57.80   S       JJ.75 1 S         19.50 I S        54.50         S       37.90         S      -4S-00 I S       81.96       S     SS.OS      S      (267 !7) S           282:17
!P"AC                                              S.pcrbour        SO:OS·        S0.05     S       li.51     S       :!.7.13 l $         2749          S      21.35    S     26.90   S        6.SS i S          9.75-    !S     Z7.25         S.      18.9~         S.     .2400 1 S.       4098        S     :.7.54     S.      (ll3.64) S          14~.09
                                                                                                       Case 6:18-bk-00263-KSJ                                                Doc 92                  Filed 06/06/18                              Page 38 of 50


    ll:PAT Industry Ponsion Fund


           EMPLOYER. Excdcrccb Coanngs and· .'\pp!iQQons LLC                                                                   REVIEW PERJOD: Jam03Cy t, !Ol! 1hroug~ Aptil             14~·201 S.                                       Rc*son Fo:r Dtricic-an: <RFD1·
            ADDRESS. 221 N. H"''Y 17. Sui1c ~Clermont. FL 34711                                                                     AUDITOR. Joanmi KlsZlo, Jackie Coyle:                                                                A) Conmbutions d':.leon alt bOU:S:\li'Orkcd
            C01'"TACT r.:....,..co Mum                                                                                                                                                                                                   8) Comribuuons due on :ill c:nplO)'eCS performing covered worl:.
          PH~1.JMBER:                 352-3~-:ZJSS




l             2013""-I
                                                                                                                                      CaatnDution Out- for '"l:tilityWorkrrs" P•inters WcniUn.i: Ovc-r 2000 bovn
                                                                                                                                                                                                                                                                                                      Uzs "Non Covccd Work'"
                                                                         RFD                                                                                APR
             r"<i.lllM'
IBarns. Mu:hocl                   i
                                       SSl'imuhcr    Load
                                      S92·12-2858 ;1 OC78                  B      .I HOV'RSI
                                                                                          W.WCS!
                                                                                                           JAN
                                                                                                            45.91
                                                                                                                          FEB
                                                                                                                            1S9.45         "'""'                             MAY              JUN            Jl,'L          AliC              SEP              OCT             NOV             DEC'          OTHER         TOTAL
                                                                                                                                                                                                                                                                                                                                       20S.36

iCurllss.. David                  I XXX-XX-XXXX e OC78                     A          I f!OURS                               38.09           176,00          146.7S           ~o~.so            168.00        125.50          lSl.3:.           1'.!6.5C        117,96          17800            Ill.SO            (9S0.'16)           594.19
                                                                                       WAGES
IC-,,rn..uffl.. Stt."'VC!l        I XXX-XX-XXXX I OC78              ~      B          I HOURS                                                                  93.2:          164.75            r~4.0o        117.75          !13.7~           149.00            1;,68          211.SO          118.00             (8:54.00)           •U.70
                                                                                          WAGES
IJemioan_W.L                      I 43g..37.s-;41 I       DC78             B          I HOURS                                                                  90 7S          171,00            108.SO        167.71         :228.75            166.00          16:.75          217.34           165.::?S          (763.24)            714.81
                                                                                          WAGES
IIoknson. Rod                     i 266-$3-1510 I         ocn              A          i·HOURS                 6.11          141,00    l      236.75          183.75           2os:2s             56.13        114.SO         201.50             16ll.OO          17V.67         211.65          152.70             (86l.2J)            986.80
                                                                                          WAGES                                       I                                                                                                                                                                                         s
i Rod ·er· n.mndrick              ~ .5$J.J6-2ll4 I        OC78             B          i   HOURS                                       I                                                                                        74.•2           ·120;:5           I IS.50        172.~6           103.SO            (868.12)           (273.39)
                                                                                          WAGES                                       I
fSO.Ohcrd, Michael ·! 2~S-s1-u94                     I    OC78      I      II·        i HOURS                                                 187.97         191.25·          141..60          1.?3.SO         ::o.so         10'!.50          133.SO           !72.:50         =.so            10).50             (738.501            697:82
                                                                                        WAGES
~Teachout.. Mi~eJ                 !    589-11-37'.?.4 l DC78 I             B·         ~ llOl>"RS                                                                                                123.20        169.50         ~OS.7~            1652s:           10:.00                                             (776.50)            (I0.801
                                                                                        WAGES
                                                                      ITOTJ\L HOURS                          =i.112         338.5-l          600.n           :o:::.77         888.10           7~3.33         745.46        t,179.52 •        1.02.a.so         920.06         I.219.SS         7Sl.AS           (5,812.."ll         3,323.49     i
                                                                      !TOTALWACES , ~                                                                                                    s                                               's                                s              5                                               -       I
                                                                                                                                                                                             Anicmnt·DllC"
     '· ! 1:li!'!l>S''.
                             •.
                                       ...   "       ::: .'l(A.'J'.£5'. '-11.li'Jl:       :';81m!f.:
    PENSION                                              S per hour        SJ.73
                                                                          53.Ja                        s    175.SJ    ; s 1.14-1.27 IS      2.030.~3    s   !..385.SO s      3.001.78    s   2.317.26    s   2.5t9.6~   s   •.399.61      s   3.836.3 l    s   3.431.82 I S 4.543 92      s    2,814.10     s   (:ll.680. 7~)   s   IC>.984.7.i
    rn                                                   Soer h-our      ·so.10
                                                                           S0.10                       s      s.20    Is      33.&S Is         60.07    s       70.58 s         83.81    s       70.33   s     74..55   s     lP.95       s     1"2.SS     5      92.01 s     121.96      s       75.4:)    s       1581.251    s     332.36
    LMCI                                                 S ocr houT        S<l.1<1
                                                                          so 10·                       s      5.zo    Is      33.85 I s        60.o: s          70.58 .S        88.81    s       70.JJ   s     74.55    s     ;1u5        s     102.85     s      9201 s      121.96      s       75.45     s      (581.:?.~I   s      332.36
    PAC                                                  Spcr hour soo::   SC.05                       s      2.60    IS      16.93 1 $         30,04   s        35.29 s        44.41    s       3~.17   s     :1727    s      SS.98      s       51.43    s      •6.oo s      6098       s       37.72     s      (2906).)     s      166 IQ
                                                         TOT Al' AMOU>.I DUE                           s    183.83    I s i,?.?Jl.90 I$     !.l30.61    s   z_.::61.9~   s   3.2:3.81    s   :?.5$3.09   s   2.706.0l   ~   -1.694.4'>    s   -1,093..U    s   J,661.84 s 4,8..<;3.82     s.   >.OD?.:'!    s   (:!3,133.81)    s   11.815.65
                                                                              Case 6:18-bk-00263-KSJ                                            Doc 92                  Filed 06/06/18                            Page 39 of 50




       EMPLOYE..~.  facclctcch Comings and Applicatiot1$ LLC"                                          REVIEW PERIOD: }.&nll3l')" 1. 2012 through April :4. .?IJ>IS                                        RS"son For DsFicimcy IBFPV
           ADDRESS: ::!ll N.Hwy27.SuitcI.Ocrmont..FL WI I                                                   AUDrrQR- J011.Dna Kis:"Jo.: Jl)Ckic Coyle                                                      A).ContnbutiOtts dlieon~U hours work«!
        COt-oT.--\CT: L;r;wrcio: Muzi!l                                                                                                                                                                    8) Contribc.tions due on 111 employees pccforming ~ve;cd woik
      PH Nt,"MBER: 352-394·21$5




1___2_0..!.!...____J
                                                                                                                                                         Conrriln.ttiaaDuc                                                                                          Less "Non Cove:cd Wa!ic."
                                                                                                                                                                                                                                                                            OTHP<
           N*•DC          SSNambet'      Local            RFD                      JAN             FE8             MAR             APR          MA~···            JUN            JUL            AVG             SD'            OCT            NOV             DEC                               TOTAL
ICurhss.. Tur"\:       I :XXX-XX-XXXX I .DC78              A      I HOURS           (42.7011          7_00·          33.00                         120.00           13.SO         41.SQ                                                                                        <433.50)           CU0.201
                                                                    WAGES     s    C1l5.29H s       120:14          56S.26     s                 2.066.40          4%.77         817.~                                                                                                           l.3:?8.63
l&<lish. Cb<eo<c        I 26S-6!-n61 ii       DC78         B      I ROl;'RS        202SO             97.SO          194.50                         336.SO          223.50        1:?6.StJ        2"14.$0         163.00         14350          1711.50         136,00          csoi.5m           1,2ZS 00
                                                                    WAGES                                                                                                                                                                                                                   s
IG<lu•l>. Stever.      I   XXX-XX-XXXX   i    DC78         B      I HOl;'RS         172.50·         13l.7S          210.SO                        3.28.J.S         186.50         94.00           62.50          LS5.75         IJS,;5         l~.00            16.00          1951.651            668.95
                                                                      WAGES                                                                                                                                                                                                                 ~

}Jimenez. Stl:"'e      ! 546-63-1:Z4! i        OC7S        8      ;HOURS             81.00                          156~                          199.00           199.10        160.00         226.00           155.00         :no.oo         16550           1«7.00'          (46.001          1.663.12
                                                                   WAGES
!Rod<« Oumdric:k ! XXX-XX-XXXX !. DC78                     8      ~HOv"RS           ISl.00           BO.SO          ioiso                         303.00           l'N.10        10100           !59.00          124.00         ~~.5"0         156.0C          127.00                            l.~Z.60
                                                                  .WAGES                                                                                                     !                                                                                                             IS
ISc:ru2.:cs. Richard   i. 26f>-77.3:;.~s I DC78       I
                                                           A      '"HOURS                            40.00            80,00                                                                                                                                                    (420.SOli          (300.50)
                                                                     WAGES                     s    931.50         1.863."20                                                                                                                                                               :s    2.794 BO
tlbomps.on. Ronald ': 266-07·7•J.7·1 .OC78                 ·:S.    i HOURSi         153.50          104.00            94..W                       345.00           !OJ.SO         93.00          159.CO          131.50          'JS.SO        1'4.5C           90.00          t3SJ..OO)'        l.2.!4.00
                                                                      WAGES                                                                                                                                                                                                                 s
                                                      ITOTAl. llOURS                717.SO ,· -16475                 37L52                       !Jilt.SS i       1.035.20       622.00          831.0ll         729.?S         'ilU5.         799.50          518.0CI       (3.1138.15)         !'i.902.9i
                                                      ITOTAL WAG.ES I S            17=Z9li$ 1.052.1•           s   2,431.46               ;s     2,066.40 I S      490.,'        817.95     s              s                                             .$                        -       IS    6.1:23•.&l

                                                                                                                                                                  Amonnrl>nr
  . ; :F.t:1'!DS:::::: '. '·   , ....          :~~· :~1~; ::i$ii'~~:
 PEl\'SIO!<                              fS~!l.our        ·53.73 S3.7.l        s   2,677.39    s   I.T.!6.06   s   J.2SC.77    s            s    6.086.BO     s   3.SGDO   I S :?..320.06   s3.099.63      ·s   2.n.0.10   s   :.693 99   s   2.98214     s   I.932.14s     Cl 1.332.30     s   '.!::!.Vl8.0S
 FTI                                         iS~hour       SO.!Q SO.JO         s      7i.7$    s      4628     s      R7.1s·   s            s      !63.19     s     :o;.s2 I s     6Z.20 $      a;.10       s      7293    s     72.23    $      79.95    s      51.SOs        (303.52      s        590.31
 1-'.!CI                                     js·:icr·hour  SO.IC S0.10         s      71.78    s      "6.28    s      87.15    s            s      !6;.r9     s     103.52 l'f     6~.20   s    53.10      $       7193    s     72:?3    s     79.9~     s     :51 80s        c;o3.s:n s            590.31
 PAC                                         IS!>C"ho.r.   S0.0$ SO.OS         s      35.89    s      23.14    s      4.l.SB   s            s       81.59     s      5176 f ~      JI 10 s      41.55       s      36.46   s     36.11    s     J<;,9S    s :s.9o s            (151.91) s            :?95.15
                                             jTOTAl. AMOl!NT Dl!E             •S   ?.8S6.S.S   s   1,S.Sl.16   s   3.463.65    s            s    6,494.77     s   4.120.10 , s 2.-l?S.5<>, S ~07J8          s   Z.~l.4!    s   2.U-'-~    s   3~1X2,0?    s 2,061.6-1 s     (12.091.8~) s       "·"93..S~
                                                                                            Case 6:18-bk-00263-KSJ                                                               Doc 92                       Filed 06/06/18                                    Page 40 of 50


JUPAT lndnstry Pension Fund


           EMPLOYER: Excdctcc:h Co3ling5 and Application~ LLC                                                                   RElilEW P.ER.IOD: hncary I, 201:? lhrough April 14. 2013                                                               Rs=ason Por Dfirsieacy 1RFD\:
            ADDRESS: 22.1 N.H.,.,y:.7.S11itel.dermont, FL 34711                                                                       AliDrroR: Jeanna KiszJo ila<:l:ic Coyk                                                                           AJ Conuit-utions dc.c on .ill bolm. wocited
            CONT ACT: L>wreo<e MuzD.                                                                                                                                                                                                                   B} Contributions due on all employees. pe:rfcrnuny. covered \\.'ark
          eH !'n.'MBER: 3;2.394-2155




1              ?Ot4
                                                                                                                                        Contribnrion Du(' (or .. Utili1)' Workcn"' Painlcn Working Ovtr 2000 bour'3

               Nilmc            SSNdlllbu         Loal           RFI>                                JAN                    F£B                                   APR                             JU!ll               JUL                   AUG                               OCT             NOV                 DEC                                      TOTAL
IGon:.:iiles-S:unil~ li 480-01·7945 ~             DC711            B       l   HOL"RSI                                                                                                                                                                         84.00            23000          184.00              168.00                ('.141.50)          230.50
                                                          "                    WAGES>                                                                                                                                                                                                                                                                  s
!JemilWI. W. L              I 263-91>-1458 l ·oc78 ~               B       I HOURS                       243:02              160,SO            !9!.00                              397.75          104.50               13!.SO                159.50          156.00            185.50         132.00               75.50              (\.363 141             673.63
                                                                               WAGES                                                                                                                                                                                                                                                                   $          -
! Johmon. Rod               I XXX-XX-XXXX ·1 DC78 1                B       ~HOURS                        15795'              1::0.75           207.00                                                                                                                                                                                    f.!76.25)            219.45
                                                                               WAGES                                                                                                                                                                                                                                                                   s
;Mml'ero. Luis              I XXX-XX-XXXX I DC711 I                B       f HOL'RS                                                                                                                                      1657                ::OS.00          156.00            134.00         124.SO              166.QO                15-'6.SO)            '5&.57
                                                                             WAGES                                                                                                                                                                                                                                                                    's
tN.-....,...Gcnzolcs.Jd XXX-XX-XXXX I DC78                  I      3       ! HOURS                                                                                                                                       33.25               23050             60.00                                                                   Cl.783.30)          11.459.55
                                                    ..
                                                                             WAGES                                                                                                                                                                                                                       ·I                                            s
-;Rod~cr       Quamlriclc   I XXX-XX-XXXX   I DC73 I               B       ·I HOl.'RS                    ISl.00               80.SO             10:.so 1                          303.00           194.10               IOI 00 I              159.00          12.::..00         144:50         156.00               127.00                                  J,64.!.60
                                                                            'WAGES                                                                        !                                                                         i                                                                                                                  s
iShoherd. M:d=I I 265·8l-Wl4-I                    DC7B !           B       l HOL'RSl                     15'>5C              1'350             :?.t6.7S                                      :                                      I                                                                                                     (15.001             504.75

I Smith. Gordon             I   263-4S-IS4H       DC7B I           B
                                                                   I 1101..'RS
                                                                               W.~GES
                                                                                                         200.00              15000              i6C.0Ci                           320.00 I
                                                                                                                                                                                             I
                                                                                                                                                                                                   200.00
                                                                                                                                                                                                              I
                                                                                                                                                                                                                16MO
                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                               200.00     160.00        200.00       160.00                                        160.00;
                                                                                                                                                                                                                                                                                                                                                       s          -
                                                                                                                                                                                                                                                                                                                                                            2.oso.00
                                                                     WAGES                                                                                                                        ER isstatm; Employc dis.a formm bu.rPRsmcd he performed Painting Work
                                                                                                                                                                                                                                0
                                                                                                                                                                                                                                                                                                                             I
                                                            !TOTAL HOl>'RS                               ?16.47              675.%!            sr..is                            1..0?IJ..75 I     595;60       '42.32         957.oo I   740.00       900.00        7S6..SO I
                                                                                               s              -         s         -       s        -          s         "-   s                            - s               -                      s                               -
                                                                                                                                                                                                                                                                                                                   696.SO I            f<..430.69)
                                                                                                                                                                                                                                                                                                                                                       s
                                                                                                                                                                                                                                                                                                                                                            4.149.95
                                                                                                                                                                                                                                                                                                                                 ~ ·"-
                                                            jTOTAL WAGES                                                                                                                     IS                         IS            Is                         $           IS
                                                                                                                                                                                                                                                                                                                             I

                                                                                                                                                                                                  AmounfOur
        ". F.l'Ml)S'   i                                        ''31l.~3: ·,~tllil''
    PENSION                                          bout         S3.73            S3.73 s            l.•lS."'3         s   2.51&.68      s   3.272:14,S                     s   J..SOi.40   s 2.23:?.78              l.6'9.85          s   3.S69.6i        2. 760.20         ,3.357.30   s   2.8::?1.75 s 2.597.95               s   (16.52047)       s    l~A79.3Z
    FT!                                       s    crbour         SC.iO            $0.10 IS               91;65         s     67.53       s      S7.73 1 S                         102.08 s       S9.U                   -44:.3         s      95.70           74,0Q      s       90.00   $       7MS s       69.-65             ·s      {~3.07~       s      415.01
    1..-..1n                                  S ctbOt:f           S0.11l           SQH s                  91.65         s     07.53       s      S7.73        s              s      10!.0S s      S9.S6           s      44.23 I        s      95.70    s      i4.00      s      90.0~.   s       75.65. s    69.65                      (44J.o,      ·s      ~JS.OJ
    PAC                                       S.pe-hocr           SO.OS            so.o~                   4~_&2        s     33.70'      s      4).S6        s                      51.04 $      29.93           s       22.J:?.   Is          4-'i.S:5 I$    37.00      s      45.00    $     37.83.J s             34.83 ·S    (::21.~3)            s      207.SI
                                              TOTAL       A~rot~"T             DUE                    3.647.5~          !< 2..68":.50         3.491 ..s&.                    5   4,662..611· s US2.4..\               1..760AJ          s   .;.Slll!.86 s '?..fJ4!'.20    s   3.!0l2.00   s   3,010.83        s   Z..7Tl..08   (17.0.'4,\4)            s    16,.~16.SS




                                                                        .......   -.........................- .......   _________________________________________________________________                                                                                                                                                                                __,
                             Case 6:18-bk-00263-KSJ Doc 92 Filed 06/06/18 Page 41 of 50
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   IFPAT Industry Pension F1md


              EMPLOYER: Exc:elettch Coatings and Applioali°'"' L;,r,                                          REVIEW P!:lUOD: Jimtwy l,201Sthrough .-\pril 14, 2018                          Rc:uon   t~or   DefldeacvfflFDl:
               ADDRESS: :?.21 ~· H'i'-y2j.SoiteJ,.Clcnnont.FL 3,4".'ll                                              A.UDITOR: Jackie Coylo                                                   B) Contnl>otions due er. all e:nployces pCifomnng coverechv.orlc:
               CONTACT: l.3W1enocM.,U
             PH Nt;"MBER: 352-394-2155


            201$-2017                                                                                                                           Fortune PS)Toll
                                                                                                                               Cooldbntion Dae for Known tr nlon Man.bier Painters.

             Name               SSNwnba'            Rf1)                       JAN        FEB           MAR           .o\.PR              MAY          Jt:N               JUL         At'C        SEP                OCT             NOV              DEC                 TOTAL
  ~lCruz   Robeno               ®>5<>·2947 l          8         HOv'R.S                         I                               I                                                                                                                         103.SG              103_'0 I
                                                                WAGES
  ~~lunothv                     XXX-XX-XXXX '         6         HOURS                                                                                                !                                                                                   <5037                4.'i0-37'
                                                                WAG"..S                                                                                              !
                                2~.)..0J-3362   l     B         HOu'RS                                                         ..,
                                                                                                                                i                                    ;                                                                                 -4-5?3.7.S           4>73.75
                                                                W.~GES
                           I OU!-74-4361        I     B       ! HOURS                                                                                                                                                                                   091.75              4.2YL7~
                                                                W.-\GES
                           I 546-63-1~43 I            B         HOllRS                                                                                                                                                                                  2J60.00             :Z.160.00
                                                                WAGF:S
                                S93-!ci-lll4 I        B         HOURS                                                                                                                                                                                  3.714.50             3.~14.50
                                                         WAGES                       i
                           I    2i»-C7-7437 I    B     I HOliRS                      \                                                                                                                                                                  2.$35.00           2.535.00
                                                         WAGES
  IWllllo:r_Jc:romeD            :!64-81-0138 I   B       HOURS                                                                                                                                                                                           0~.50                673.50
                                                         WAGES
                                             ITOTALDOURS                                                                                                                                                                                              13.!'0?..37         lll.!'tl2.l7
                                             IJ"OTAl, WAGES                          IS         IS                s                  s-           s                                          s                                  :s
                                                                                                                                                   .o\mouot l>u.c-
             FUNDS                 R.UES            !J/V16      7/VJ7
                                                                                                                                                                                                                                                                    [-$
   PENSIO:)l                   S oerhour              U03          5"28              IS         'S                                               Is                  IS                                                         's                     "9.190.14-          79.190.14
                               s oer:hom              so.to      -·SO.IQ             Is                                                          IS                  IS                                                          $                      1;!50.24.    s      I 850.~4
   LMCl                        StlCt'!ict:            socio        S0.!0             Is                                                          Is                  Is          s                                               s                      l.SSO:M             1 SS0.2·1
   PAC                         s per hour so.o.s                  SO.DS              IS                           s                              !S                  IS                                                          s                        !12;-12    s        925.12
                               TOTALAMOUNTI>t:J:                           s         IS             s
                                                                                                                 ·~                              .s                  IS          s                                               s                    S-J.815.74'    s    B3,8JS,7-4
                                                                                           Case 6:18-bk-00263-KSJ                 Doc 92              Filed 06/06/18                 Page 42 of 50




 IUPAT Industry Pension Fund


            EMPLOYER: Excekt..-ch COfolings and .>.pplications U.C                                      REVIEW PERIOD: l•m-,.r, 1.2015 Uuough."ptil 1.1. 2018                       Reason Fot DcRdcncY <RFD):
             ADDRESS: 211 N. Hwy 2'. Sui'.e i. Clennon~ FL 34711                                             ·AUDITOR: JilckitCoylc                                                 Bl Ccntobulioos du= o<t all emplor= pertOtming °""~work
             CONrACT: L>.wr<nce Mum
           PH NUMBER: 3!'2·394-2155.


L        ZOl>ZOJ7                                                                                                                      Fortune P:avroD


           }'l:'ame                  .SS Number            RFD                         JA,'I   FES              APR            MAY             JL'N             JUL       AUG           SEP            OCT            ~OV           DEC                   TOTAL
l.>.d=sJeffi!rv                      000-00-7?29 I          B             HOURS                                                                                                 I                                                    4.IO<i.67              4.100.oi i
                                                                          WAGES                                                                                                 I                                                                                -       I
IAll.:nRvon                          XXX-XX-XXXX I          B             HOURS                                                                                       I                                                                793.16                 793.!6 .
                                                                 "'       WAGES                                                                                       I
IAnderson. Donnld                    000-00.22?0            ll            HOIJRS                                                                                      !                                                               l.013_<\t             1.01350
                                                                          WAGES
IBnez.1'"'~                [ COO.Q0.8:566                   B             HOURS                                                                                                                                                        208.SO     I           208.SO
                                                                          .WAGES
                                                                 I
13.!r.cvidc:s. Poul        I 000.00-6995. I                 B       BOURS                                                                                                                                                            '.!_.~.75              L.563.7'.S
                                                                   WAGES
I"'='-<. Gilbert                     OOO.OG-Om I            B    ! ·HOURS                                                                                                                                                              399.ro                 399.00
                                                                   WAGES
I Bumman Patricia.                   QO().QQ-6627 f         B                                                                                                                                                                            8".-5                 87.75
                           '                                B
                                                                          HOURS
                                                                          V..-.•.GES
                                                                          HOl;ltS                                                                                                                                                      441.00                 44LOO
                                                                                                                                                                                                -~
Ic.m.cllo. »eroio          I         XXX-XX-XXXX
                                                                          WAGES                                                                                                                  I
: Comobcll. ?abian         1000-00-=                        B    I        HOURS                                                                                                                                                       5.053.75              5cr.i3.75
                                                       "                  WAGES
·,,COlll1'bot Kevin        ;oou..ro-3100                    a·            H0l;1tS                                                                                                                                                     5 08l 50              508150
                                                                          WAGES
iCaro,Loci:i               I -OOO-OCJ.1>53l                 B              HOURS                                                                                                I                                                      583.00                 583.00
                                                                          WAGES
iCo1"'1Tlan Robert         I C00-00-1148 I                 'B             .HOvltS                                                                                                                                                      126.00                 125.00
                                                                          WAGES
!Cucic. Kcislwn 000.00-9993 · I B                                          HOURS                                                                                                                                                       529.00         I       529.00
=====---'-====-'---''---'--==""'=+-----+-----+-----1-----1-----1-----1----·--..!--.----+--
                                                                          WAGE$
                                                                                           ·---___,I-----'--                                                                                                                                          -r------:1
iDanni<on. Kvle            ! !JOO.-OQ.0006 I                s·             HOURS·'                                                                                                                                                     il<l.00                214.00.
                                                                          WAGES
lo.vis, Louis              ! ooo.(]t;.9040 I                B              HOt;ltS                                                                                                                                                    l.2"'8.00              1.m.00
                                                                          .WAG~S
fDe\'i!,. Vtnut.lm                   000.00-254(!      !    B              HOL'R.S                                                                                                                                                      421.00                421.00
                                                                          W.'1.GES
\ ~'Bcnmdis,.-Jos:                   ooo.oocnos        1    B         I   HOURS                                                                                                                                                       1.060.00               l.fl66.00
                                                                          WAGES
~Durden. Ch~                   l     coo.oo-o:z91.     !    B        I     HOURS                                                                                                                                                       lt0.00                 200.00
                                                                          WAGES
 !Ervin. Sc:ilav                     ()()(}.()0-8043   I    B             HOURS                                                                                                                                                       t.~.1.00               1.ll4LOO
                                                                          WAGES
 IFox.Dt:sti:i                 I 000-00...7686 ~             B       I HOURS                                                                                                                                                              2.50                   2.50
                                                                          WAGts
 ====:.::....
 IG"1virdos..-ph __                  XXX-XX-XXXX :           B          HOU"RS
                           _,_..::::;::....:::==..:....-=.:......~....::==+-----t-----+-----1-·-···--·· f-··----+-----+-----+----+-----+------+-----+--~=+----+--~~-;
                                                                        WAGES
                                                                                                                                                                                                                                        101_'>0               161.50

 IGlucia..Sebaslion                  OCl().(]().g7o2 I       B          HOURS                                                                                                                                                           7•:.oo                741.00
                                                                        WAGES
 t;o... l'mlTIO. J.-ib         I000-00-9234                  B          HO\J"RS                                                                                                                                                       ~.571.75               4.571.7S.
                                                                        WAGES
 /(ionzal~    Da'-idLlnO              Q00.00.9827 I          B          HOURS                                                                                                                                                           ~.SO                  '15.50
                                                                        WAGES
 I Gonzalez.. Jesus            i_.    ll00-00-'5692 I        B          HOURS                                                                                                                                                           393.00                393.00
                                                                        WAGES
 iGon2>lcs-Santillm. H'un'            48().()l-~S      I     B        I HOURS                                              I                                                                                                            4M.OO                 444.00
                                                                        WAGES                                              I
                                                                              Case 6:18-bk-00263-KSJ                              Doc 92                 Filed 06/06/18              Page 43 of 50




 IUPAT         lndu.~try    Pension Fund

              EMPLOYER: E>=l<lccl> Coa~.ngs and Appliciti:m.< t.l.C                                      RE~1EWPERJOD:   lr.nuaiy 1,201511trough April   l~.2()18                   Re2SOll For Defkk>ncy <RFD>;
               ADDRESS: 121 N. Hwy 27 , S11itc ~ Cl:rmllnt, FL 34711                                            AUDITCR: l•ckic Coyk                                                B) C'ontnbutions due on :ill employ:cs pcrforrc!ng c:o\•c:ri=d work
                CONT.~CT:    Lav»eo« M"1ia
             l'!i NUMBER: 352-394-2155


          20lS.20l7                                                                                                                     Fortune P!2TOU
                                                                                                                                           Ottior P>lnter<

             N"""'            SS Number             RFD                     JAN       n:s         MAR            APR            MAY             JUN                 JUL   AUG                              OCT                    NOV          DEC             TOTAL
)G"- K<nneth                  OOO.OC·l599 l          8         HOURS              I                                                                                                                                                                186.00         lllMO
                                                               WAGES              I
,Gran( Soencer              ' OOO-OC.Q36S     !      8         HOURS              I                                                                                                                                                              1,50720        1_507 20
                                                               WA.JES             I
l Hamilton Oliva fra."'lC     OOQ.00..33"3 :         B          HOURS             I                                                                                                                                                               400.2.'         466.25
                                                            WAGES                 I
l!lanl<Y. M=in                000~4           I      3      HOl.'RS               I                                                                                                                                                             l.459.00        1.459.00
                                                            WAGES                 i
IHCOWld<Z. Martin             XXX-XX-XXXX            s      !lOt.'RS                                                                                                                                                                              444.00          444.00
                                                            WAGES
IH""-.:d.Tmv                  ODG-00-5.902           3      HOL'RS                                                                                                                                                                               1883.00        l,883.00
                                                            WAGES                 !
!Jmo.II Mallh""'              OOC.00.0140            B    i HOURS                 I                                                                                                                                                               881.SC          SS::.50
                                                            WAGES                 l
lfarvcr.r1 Rahsaan            XXX-XX-XXXX I          B    I HOURS                                                                                                                                                                                 372.0~          372.00
                                                            WAGES                            i
!1~1-._w.1..                  ~63-96-J4:5ll   I      B    1 HOURS                                                                                                               I                                                                1.345.'5       1.345.75
                                                               \VAGES
                                                                                                                                                   ·····-- ----··                                              ······---1·-·-··
\Joh."l."'°11. r.~ilown     1000-00-6331      I      B    i     HOURS                                                                                                                                l                                           ".JJ0.00       4 310.00·
                                                                WAGES                                                                                                                                I
)Jl.lnes B.rildl              O(l().()0-1748 '       B           HOURS                                                                                                                              I                                              132.00         132.00
                                                                IVAGES
jJnsc:Dh.. 'Michael         ; 000-00·9993 ,          B           HOURS                                                                                                                                                                           13r:so         1,32'.50·
                                                                WAGCS
' I i•Mholcfcr.. Robe       : 000-00- 707.+    ,.    B           HOURS                                                                                                                                                                           l.214.00       1.21~.oo
                                                                w~~GES
!Mar.cro. Luis                l)00.()0-2171         ·s          HOURS                                                                                                                                                                            :,&:28.Y.l     2.828-'\0
                                                                WAGES
'Mathll'in Roldoohc           OOG-00-~797     ·::    3          HOl..>"RS                                                                                                                                                                     -~                I 048.00
                                                                WAGES
jM<Clll;ic.o.,,,;c:k           000·00-8350           B    ~     HOURS                                                                                                                                                                               lti-.00:       lo.DO
                                                                WAGES
lMcCl<od. 1-·                  00().()0-5710 I       8      HOURS                                                                                                                                                                       !          3L9.SO         319.50
                                                            WAGES
IMePh=n. w...,,.            I ooc;.oo.2;49 I         B      HOURS                                                                                                                                                                                2.09132        2.09132
                                                            WAGES
IMc"'"- Julian                 XXX-XX-XXXX     J     8      HOORS                                                                                                                                                                                  )26.00         126.00
                                                            WAGES
I   Milc:hcl. Keith          I 000-00-293! I         B      HOURS                                                                                                                                                                                  77"?.JZ        =.12
                                                            WAGES
!Molino. i'!iamo               000-00-61C4 I         8    I HOURS                                                                                                                                                                                  211.SO         211.50
                                                            WAGES
~Monsmto, Fnnci.sco            XXX-XX-XXXX I         B    I HOl.'RS                                                                                                                                                                              l.097.00        1097.00
                                                                WAGES
"M•=~ Jr. William 0            000--00-1887 I        B          HQl,"RS                                                                                                                                                                          J,457.50        1.457.50
                                                                WAGES
 lNicl:=on. Josiw>             000.00-3953 i         B          HOURS                                                                                                                                                                            l~.00           1844.00
                                                                WAGES                                                                     1
 IO:dus, Anef01t             : XXX-XX-XXXX f         B        i l!Ol.IRS                                                                  !                                                                                                        83S.OO         838.00
                                                                WAGES                                                                                                           I
 !Ortiz.Romon                  XXX-XX-XXXX :.        B          HOURS                                                                     I                                     I                                                                l.196.50        1.196.50
                                                                WAGES                                                                     I                                     I                                        i




                                                                                            ·-·-··-··-·-·····-·-··-···--·----
                                                                                           Case 6:18-bk-00263-KSJ                                           Doc 92               Filed 06/06/18                   Page 44 of 50
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   IUPAT Industry Pension Fund

              E."'IPLOYER:     Excdctech Coaliri&s :ind Applice:icns LLC                                                         REVIEW PERIOD: famracy 1.2015 through April 14. 2018                             Re:u:on For Defldencv CR.FD):
                ADDRESS:       221 N. Hwy 27. Silite 1. Clctmont, :L 34"11                                                            AUDITOR: Jaclo< Coyle                                                       8) COnttil>titicns dee en e!J..l!:Itlployces: perfo.rm.ing covcrt:d wotk
               COITTACT:       Lav.= Mu2ia
             PH NUMBER:        352-394-21.55


          1015-2917                                                                                                                                                Fortune Payroll

                                 SS Number            RJ"ll                            JAN                 FEB            MAI!             APR             MAY                                   JUL                    SEP                    OCT               NOY              DEC                          TOTAL
  IOsbomo. Rcbort             i ():JM0-8353 l          B        '       HOURS                                    I                                                                                                                                                                      "-SC                            7.50
                                                                        WAGES                                    I
  IPainter. Donna                                       B               HOtJRS                                   I                                                                                                                                                                   662.65                          062.ciS
  r;:;:-,..,,.-;-:-..,,.,.-::-;;--:-:::;-:;,,---;;;;;;--;;;::N;;;;;-..,..--,;;-""T-tw~'A~v~-ES~--...,.-----+---··------!.----·-----<------
  IOuev-cdo Percz..,'!'l-Vt'l"' 1 f- OOO-C0-5878 I B     I HG~;RS.                                       f
                                                                                                                                           4------!------!------!:-----:--:-----'-i--:------:------:------1------:-----.:....I
                                                                                                                                                                                                          223.00          :UJ.00
                                                                        WA<J"ES
  IReODr-_ Rodncv                                       B               HOURS                                          I                                                             1154.00     1-154.00
                                                           WAGES                                                       I
  "1R,...,.,.--n-cso-"'w"'"1IiacJ"·,---,--,oo:-:0-0=0-683,....,,=0"'1-"'s=---:-~H;.;O,;;UR::=-;S:1-----+-----+-------'-,--'-·-- -+-----+-----+-----+-----+-----+---·--·--·· ~----+----~+-----+-----~
                                                                                                                                                                                     1.146.SO    114650
  =------,-=-..,.,-,-...,..----,-..,--W-:-:"_,,A;;,GE=-.;S'!---~--<I~----- -------t-------t----;...-----1------+-----+------',__---~-----+------1----__.------'--l                            448.00
  .o'Rivcra=--=·'-".A..::dol=lb::__ _'-'000-0"--'--"-'().\!'-='-l=-2•:..-.-=-B--'-:,;;~~o.:;:s~s+-_ -------------~----·--------+-----+-----1-----i-----+-----+------'l------+-----i-----~---=~~----....._--~~:..J
                                                                                                                                                                                                             448.00

  'Rosali. No!hnnicl G<:r.u-d 1 XXX-XX-XXXX ;           B               HOURS                                                                                                                                                                                                        453.00                          453.00
                                                                        WAGES                                                                                                                                                       j
                                 XXX-XX-XXXX      i                     ROURS                     I                                                                                                                                 I                                                  11.90                           11.90
                                                                        W,\GES                    I
                                                        B               HOL.'RS                                                                                                                                                                                                      594.00                          594.00
                                                                      WAGES
  iSmith. Gordon                  263-45--1545          3             HOl;'RS                                                                                                                                                                                                      4.352.00                       4-35;:.oo
                                                                      WAGES
  ISlr.lchan.-M'JClulel        ! XXX-XX-XXXX            3             HOURS                                                                                                                                                                                                            90.50                          90.50
                                                                      WAGES
  ISumrocrforo.W>ilimn         ' XXX-XX-XXXX            B           ! HOC1lS                                                                                                                                                                                                         ·'76.SO I                       476.50
                                                                        WAGES
  ITmddl. Thoxr.>S             i <KY.l-00-0041 I        B               HOUR.SI                                                                                                                                                                                                        38.C!l                         38.00:
                                                                        W.AG"ES
  iU•low    H•~                                          fl             HOURS                                                                                                                                                                                                          68..25                          68.25
                                                                        WAGES
                                                         B              HOURS                                                                                        I                                                                                                                 69.00                          09.00
                                                                        W.".VES
  IW>lkcr. John                   000-00--l093    i     B               HOL'RS                                                                                                                                                                                                       995.00                          995.00
                                                                        W.~GES
  IWai:o. Charlie                 000-00-27·'2           B          I    HOURS                                                                                                                                                                                                         4400                            44.00
                                                                        WAGES
   IWillW::ls.Kurt                000-0().\!)91          B              ElOUR.S                                                                                                                                                                                                      :P.0.00                         320.00
                                                                        WAGES                     iS
                                                     ITOT.-\LHOURS                                I                                                t                                                                                                                             ?l.MS-77                       12.MS."rl
                                                     lTOTALWACES                  .S              Is             ! S·                 s                                  s             :     s                    s                 !   s                   s                                    s         s
                                                                                                                                                                         Amount l>ne
             Fl"'1DS                 RATES             91111'           7/lf17
    PE."IS!ON                   Socr ho~                 $4.03            S4.28                    IS                                 s                s                 s                                                                                                       311 77Y.90                s    311.7'9.90
    rn                          S ocrhou.                SO.JO            SO.JO                    Is                                 s                s                 s                                                                                                          7.28458                s       7.284.58
    !.MCI                        Sr:cr-hou:r             S0.10            so.10    s                  i$             ~-                                s                                                                                s                   -S                      7_2l!A,58              s       7.284.58
    PAC                          S:perboar    SOM                         S0.05    s                  :5             s                                 s                                                                                $                                          3.642.29                s       5.642.29
                                 TOTAL AMOUNT DUE                                  s   .. --·-··.·-.}S
                                                                                                                     s            .__,ls          "s____________   ~-.1 ..s                  s           s    -    s                    s              .s                       32~:?,!1.35 ~ ,...._,.,.       .!19.991-35
                                                                                                                                                                                                                                                                                                                  ·_- __ -_,,,,_
                                                                                                                                                                                       '··             -~-----1·--
                                                                                                                                                                                                                                   ..,;~,.,,           ,:   .~




                                                                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                                   ,i


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                                                                                   Case 6:18-bk-00263-KSJ                                             Doc 92                Filed 06/06/18                                 Page 45 of 50




 IUPAT Industry Pension Fund

          EMPLOYER.: Exa:L=b Co•tings :md Appli<a!ionsUC                                                               REVIEW PERIOD:      !3"'LW~ 1.1015through April 14. 2018                                           Reason liof- Dcl1ricncT {BFD)~
            •.\DDRESS: 221 N. R1'y2', Suio: lO.:rn>ont.Fl. 34711                                                                  AUDITOR: Jackie: Coyle                                                                  8) Coci:rl!::.~ons dlk: on 311 cmp1oyl!CS pcrfomring covcn:d wotk
           COITTACT: Luwrcnce Mwza
         Pfl NUMBER; 352-394-2155


          2017                                                                                                                                              Pai·chex Patron
                                                                                                                                           Coab"lbuUOn D\UI. ror Known Unloa. Mftnbeor Palntft's

         N:llllf'        SSi"ivmbcr          RFD                              JA.I\(        FEB                  MAR               APR              MA\'             JUN             07/UJ.07122      07/tl.07131              AUG               SEP                  OCT              ~ov              DEC               TOTAL
iOaniels. Tnnol1w        595--4&-3781   ~     B          HOL'RS                                                                                         89.00           132.00              8400             38.50 i                                          I                          ns:oo            I. .·.00           638.50
                                                         WAGES
1En~Cbren~               26!'61-336:!         B          HOURS                                 32:.00              J26.oa             ISO.OD           l58.00           50.50              lol.oo            '.0.CO I             l47.SO            049.SO             1.57.00           1:!.3.50          152.00           l.457.00
                                                         w:.=·                                                                                                                                                        i
i~Srcvcn                 018·74-4361          B          HOL'l~S                               45.00               158.00             164.00           136.00           137.00             87.50             25.CO i              15250             ll3.50             155.50            !19.0G            l'~.00           1.408.00
                                                         WAGES
lrun.n=~                 5(6-63-1243          B      l: l!Ol.;"'RS                             ~9.00     .         184.50             22050            162.50           J82.00              63.00                                                                                                                            861.50
                                                         WAGES
IF""- "'~"rl"'"          $93-11>-ZIM          B      i   HOURS                                    9.50                                                                                                                                                                                                                         9.50
                                                         WAGES
!Scro- Ric:lwd           XXX-XX-XXXX    I     B          HOURS·                                                                                                         120.00             160.00            40.00                J00.00            200.c-o            160.(l{J          \00.00            200.00           1.200.00
                                                         WAGES
!Thompson. Ronold        260-67-'.".t:i~ I    B      I   HOURS                                    9.50                                                                                                                                                                                                                         9.50
                                                         WAGES
IW:ilkc<.JcromoD       I 264-lil-O!JS I       .B         P.OURSj                                                    68.00                                                                                                                                                                                                     68.00    I
                                                         WAGES!.                                         :                                                                                                                                                                                                                             I
                                         IIOTALHOURS                 I                       1'6.00               536.50 .           o.l4.so          5'5.;11          631.:SU   !        555.50 I         143.50                 46".00           46J.00              .&12...50        520511            703.00           S.712.00 I
                                         ITOTAL WAGES                IS                ES                    s           IS                                                      !~                 ;s                IS                    ,s                    s                                 s                 s
                                                                                                                                                                     ~ouotDur
         :Ft~DS            RATES             911n6       71JJ17
 PENSION               ISuerhour       S•!.03              $428          ·s             s     :<&11.38       s    l.16?.IO    s     2.15-4.04   s    2.198.3"'   s    2 701.82       s   2 377.54 s         614.18        s      l.968-80   s     1.981.64        s   2.UZ!.30     s   ")227.'i.i   s    3.00&84.     s    24.000.75
 rn                    l$pcrhour       SO.JO·              Sl!:IO $                     s      14.60         s      53.6S     s        53.45    $       5455     $       63.15       s      SS.:55. $        J4.35        s         46.00   s        46.30        s      .r:.25           52.05 ·S          W.30 Is           571.20
 LMCI                  1
                        S ccr hour     SO.JO               SG.10         s              s      14.00         s      53.65     s        53.45 $          ~.SS     s       63.15       s      S5 55 $          14_3.S       s         "6.00    s       4630         s      4?.25            52.05 .J;         ~.30     Is      571.20
 PM:                   !Sperl"""        W05                SC.OS         s              s         '30        s       :!C.s;   s        !0.73 s          2'?.28 $         31.58       s      2"!'78·   s       ".18 s                n.oa s.          23.15        s      23.63     s      26.03 !.;        :;.s.1:c; Is      285.60
                       !IOTA.I.. AMOUNT DUE                              s·             s    62US            s   2.296.23     s     2.2S7.07    s    2.ll-1.75   s    2.160.70       s   2.51'.42     s     &S0.06 . S          l.083.SO     s   2.097.39 •       s   2.144UJ          2.357.87 s       3.JM.S9. S        25.434.75
                                                                          Case 6:18-bk-00263-KSJ                       Doc 92               Filed 06/06/18                                             Page 46 of 50




 Il'PA1 Indu.o;try Pension Fund


            EMl'LO YE!t: E:xodetech Coa11ng5 and Applications LLC                               RE\.lEW PER!OO: !amwy 1,Z0151hrough.April 14, 20l8                                                     Re:uon For Deflc:!Mcy (RFD).~
             AflDRESS: 22J N.Hwy27.SUito LClennom..FL JJ'll                                           AUDITOR.: l>clcie C~1e                                                                           Bl ContnbutiOJ\S due on all <mpk>y= perl'omting oo\ICR:d wad<
             CONTACT: ~c::-Mmia
           PH NiJM!lER: 352-394-2155


            2017                                                                                                               Pavche.x Payroll


            Namr                SSNwnb.,-            RFD                      FEB                       APR           MAY                           07/01..071.22          07123..()7131                    AUG              SEP              OCT            NOV              DEC          TOTAi,
: ,\dams. J=lf:rv w             OOiJ-OO. ~      I     B    1 HOURS              38..50      [63.00        '.?09.IXl      243.50         132.00              l 1~.50                 18.00                      !SS.SO I        1:.'i-1.00 I     190.00          10700     t    19'>.00
                                                                WAGES                                                                                                                              I                                                                      I
: Aru:l:tsor. Donald            000-00-22"'!! I      B     1·   HOURS                                                                                                                              I                                                                      I     57.00             50,00

""'"':,--;:--;-;---c-====-.--;:--r~W-;;;:"A:;'G:;ES:::t------r------r------r-----r------i------r---------------.!.-------~----,-<r-----11-----1!-1----11------l
I·"'""'· Domld                  XXX-XX-XXXX     i     B         HOURS                                                                                                                                                           ;2uo I          m.50                      1                      !SS,50
                                                                WAGES
                                000-00.0995 !         B         HOL1tS          40.00       1:.too        2(9.00 i       :10.so         165.00             114.00                                                                                                                                922.50

                                                      B    I    HOURS           40.00       l-ll.50       149.50         158.00         156.00 I           151.00                     35.00                    143.50          135.50           l?!l,00         133.00         134.50        J.54&.SO

                                XXX-XX-XXXX l        B     I    HOURS           52.50                     '.52.00        !65.00         146.;JO I          142.50                     38.50                    160.00          132.00           127.00          ilO.SO         152.00        I   ~98.SO
                                                                WAGES
                            ! ~l >                    B    I .HOURS                                                                      3:.oo
                                                             WAGESi
                                OOC-OQ.-0206 l        3         EOL'RS          .QQ_Q~      165.SC         177.00
                                                                WAGES
IDunton. Cboslcr                00()..()0.-0292 "J    3         HQ;,1tS         40.00        80.00                                                                                                                                                                                               120.0C
                                                                WAGES
IFonsoc-.o.. ~· Gu              XXX-XX-XXXX '         B         HOURS                                                                                       40.00                     33.50                    129."'1 i        ':'4.00·        173.00           91.llC        199.00            "'39.SC
                                                                WAGES
I l'onse.:a. t.o,,.,., Mi   I OOG-00-37.'2 i          B         HOURS                                                    101.00         176.00             159.SO                     36.SO                    Ll9.:'SO ·1      68.00           1"'3.00          78.00         199.00        Lll0.50
                                                                WAGES
IFonseca.Munoz..:;uilHI XXX-XX-XXXX l                 B         HOURS                                       78.00        11!4.00                                                                               US.SO            68.00           ['3.00           91.00         1.59.00 I     1.!81.SO

                            I 000..()()..93;0 I       B         HOURS                                                                   !00.00             15950;                     35.00                    l~l.00                                                                            685.00
                                                                .WAGCS
                            I   XXX-XX-XXXX I         B         HOV"llS                                                                                                                                                                                                        162.00            28.S.OO
                                                                WAGES
                            I   XXX-XX-XXXX I         B         Hut:ltS         38.00                      159.00 '                                                                                                                                                                              296.50
                                                                WAGES
                                                                                4oSO        161.50         229.00        218.1)()       P7.00               1~2   so                  44.00                    168.00                           209.50          Be.SO          lS0.00        1909-50

                                XXX-XX-XXXX I         B          HOL'RS                                                   88.00          95.00                                                                                                                                                   183.00
                                                                WAGES
                                00~2257          l    B     I HOURS,                         80.00         209.SO        164.00         161.00              lS:.SO                    35.00                    123.00           74.00           144.00           91.00         150.00        1.389.00
                                                                WAGESI
                                OOO-OO-Oi58 I         B     I    HOURS'                                                                 l60.00              107.SO                    29.50 :                  10~.oo                                                                            45'.00
                                                                WAGES
                                000-00-79';8 ,,       B     I   HOURS                                                                                                                                                                           121.00          156.00         144.0Q            421.00
                                                                WAGES
 1Hanb·. Mervin                 XXX-XX-XXXX ;         B          HOURS          40.00       130.50         184.:IO       18},00          90.SO              142.SO                    39.SO                                     66.00            40.00                                       1,071.SO
                                                                WAGES
 ·lmho!I Maahew                 XXX-XX-XXXX      !    B         HOlJ'RS             40.00   139.00          34.00         90.00         133.00              135.SI !                                            38.00            !0.00                           19.00          '?1.SO           711.0l
                                                                WAGES
                            I XXX-XX-XXXX I           B                         .40.00      !60.00         PO.CO         118.SO
                                                                WAGES                                                                                                  I
 . loocoh. Mielui:l         I O<JG.00..9993 i         B          HOURS              40.00    86.SO                                  I                                  I                                                                                                                         126.SC
                                                                WAGES~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              ..   - ........        ------~----~-----~----~----~----~
                                                                                      Case 6:18-bk-00263-KSJ                                                Doc 92                  Filed 06/06/18                               Page 47 of 50




 H!PAT Industry Pen.•ion Fund


              EM£>LOYloR: Excckt•ch Coolil\g:; and Applicol:loos U.C                                                          REVIEW PERJOD: larnmy 1;1015 through April 14, 2018                                               ~       F"or Dd"adenn-·<RFD>:
              ADDRESS; 22! N. Hwy Z'. Suit<~ Cl:mlont. FL 34711                                                                    AUDITOR; Jacl;ie CO)i<                                                                       B) Contributions due on "11 .:mployees pc:fumling cov=d work
              CONTACT: La...,.,. Mll2ia
            PHNL'MBER: 3!'2·39'-2155



             2017                                                                                                                                                  Pavchex Payroll
                                                                                                                                                                        0th« :Palnren-

            Name                     SSNmnbor            RFD                                     F"EB                                                      MAY              JUN          07/0l-07/2Z          07/ZJ-07/31            .-I.UC                                   ocr              NOV                   DEC                "fOrAL
                                     XXX-XX-XXXX "        3    i       !iOL'RS                                                                               16.00                             163.00     j          :?0.00             128.00              ll3.00 .            !29.50                                                      S69.S<l
-,Lll!-.-lh_tll_ol_d_or_R_o_b•_ _ _ _!lOO-O~~l}-...,_~_0~74~11-..,s-....,.-w"'~A"oGE~u=;e:s+-----+-_-----,l..,6.""oo-+---,,~57.,,.~oo-+---,1"'oa~oo-+---1"'2"'7.°"oo-+-----+-----+-----+-----+------~;' - - - - - + - - - - · - --!---·---·---                                                                                      --      408:co ;
1
                                                                       WAGES
                                                                       HOURS
                                                                                      ---r-
                                                                                         I          40.0-J                169.50            l&l.00           !29.50            120.00          uo.oo '
                                                                                                                                                                                                          I
                                                                                                                                                                                                                     40.0C               61.00              l!0.00 I
                                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                                                112.00           13?.00      i          ~   15.00         1337.CO l
                                                                       WAGES                                                                                                                                                                                       I                                         I
                                                                       HOv'RS                                                                                                                                                                                                                     S6.50 I               IS'.00              243.50
                                                                       WAGES
                                                                       HOURS                        3l.C-O- [                              164.SO            20S.90             93.00          149..50               39.50                                  121:00 I             38;00                                                    1156.90
                                                                       WAGES·
.iMcL<od.J~M                                                           HOURS1                                                                                 25.00            143.50          1<5.50                                    143.00             151.00                                165.00                200..SO           l,i'9.00
                                                                       WAGES                                    !
                                                                       HOURS                        38.50       I          !60.00          186 50             116.50           116..50         111.00                                                                                                                                       729.00
                                                                       WAGES
IMo,,,.;o.Mioi:cl                I 000-00-'.!!12!1-l      B            HOURS                                                                                                                                                                                                     48.50            l~l.00                1.-,_oo
                                                                       WAG~S
1MvctS. D.r.id                        XXX-XX-XXXX    I    B            HOURS                                                                                                                    32.00                "40.00             134.00              !32.00              !48.SO            134.50                16:.50
                                                                       WAGES
                                                                        HOURS                       39.50                  140.00           166.00            171 00           140.50          125.50                J3.SO              104.50              IS6..SO              l6c.50           1!650                 100.00            1.521.00
                                                                       WAvcS
                                 I    000-00-=       I    5             HOURS                                                                                                                                                                                                                      18.00                192.00              210.C-O
                                                                       WAGES
IQuevedo Perez. R>                    ODIJ.00.5'PB !      B        I    HOURS                       32.50                  l<iJ.00                            J.r!.00          162.00          l5<1.SO                                   !Ol.50                                                                                           1.003..50
                                                                       W.~GES
1Rcdfin..ROOJW.r                      XXX-XX-XXXX I       B             HOL'RS                      2~.00                  1::!000          ij2.00              8.00           139.00          t09.50                40.00               151.50             143.00               157.00           163.00                16200             L.419.00
                                                                       W•.\GES·
JR.did< Sl<:'icri J                   000--00-:::m   i    B                                                                                                    3200            !20.00          !04.00                '10.00              l 10.00 !                                                                                          ~6.00


                                      OOO.OO-oa30 I       3             HCURS                       ·.;o.oo                !71.50           170.50            !75.SO           100.00          !06.00                 39.00                                                                                                                 1!02.50
                                                                       WAGES
                                 f 00(1.(X>.OGSS 1'       B        I HOURS                                                                                                      41.00                                                                                                                                                       105.00
                                                                       WAGES
cRoscll.luanL                         XXX-XX-XXXX i       B        I HOURS                                                                                                                                                                                                        60.00           161.00                l."'3:50            394.50
                                                                       WAGES
                                      XXX-XX-XXXX :        B            HOURS                           40.00              120.00           160.00 I          !?SW             104.00          !47.00                 50.00              200.00             '!44:00              200.00           200.00                                   l.942.00
                                                      WAGES
                                 1~1           B      HOL"RS                                                                                                                                    23.00                 33.00              . 7'5..50           lUO•                                                                           !ol?.00
                                                      WAG£S
 iWalk<:r.JohnO                  000.00-J<m I   B   f HOURS                                                                 29.50           108.0C            l 46.00          153.50          116.50                 37.SO              128.00             127.00                90.00                                                     936.00
                                                      WAGES
                                            ITOTALHOURS                                            797.00               3.110.00          l.61!1.00         3.710-40         3,447.00        l.456.01               827.SO            Z~.50                                                     2.430.50              J.Sll .50          JJ.Z9Z.41
                                            !TOTAL WACES                                                            s                s                 s                s                s                    s                                                           s         - I                          s                  s
                                                                                                                                                                            Amount-Dae
          FUNDS                         .RATES           91lJ16 .       711111
    PENSION                          Sl><:r"hour           S4.03          S4.23   s          s    3211.91           $    12.533.30   s   14.584.57     s   14.9.5291    s    13891.41    s   14..791.72       s    3>Jl.70       s    !2.8!6.46      s   !0.025.90        s   12.82S.Q2        10.616.54         s   15.029.22 s         138.820.66
    rn                               SllCl'hour            SO.LO          S0.10   s          s      i9.';'0 .S              3!1.00   s      361.90     s      371.04    s      3"".7'J   s     345.60         s      Sl.75       s       299-45      s      234.lS        s      2!19.65          248.05         s      351.IS $           3,329.24
    :..Ma                            St>C<hour             SC.!O          SO.IO   s          s      79.70 s                 311.0G   s      36!.90     s      371.04    s      344.70    s     345.60         s       82.75      s       2!'9.45     s      234.1~        s      !99.65    s      248.05         s      351.15      s     3329.24
    PAC.                             Spc:rhoor       SD.05                SO.OS   ~          s      39.85 $                 155.50   s      180.95     $       !SS.52   s       172:35   s      F:l.80        s       41.38      s       !'19.'J3.   s       lli.13       s      149.g;    s      l'.?4.03       s       175.5&     s     1.66'.62
                                     TOTAL AMOt;"'NT DUE                          s          s    Mll.16            s   JJ.JlO.llO   s   15,-189.lZ   .s   15.llSO.sJ   s   14.753.16    s   !MSS.73          s   J.741!..5!1    s   U-'65.09 I S        rn.611.SJ        s   13,574.JS        11.236.67         s   15.907.10      s   147;10.11
                                                                                 Case 6:18-bk-00263-KSJ                                                 Doc 92                   Filed 06/06/18                Page 48 of 50




IUPAT Industry Pension Fund


            E!.!PLOYF-'l: E.'<C:lct.:ch Cooi:ings 3rul AppliCRiions UC                                                RB.1EW PERIOD: J:muuy l.201~woughApril IJ. 2018                                        Rruon forDd'idenC'l'{RF'D>:
             ADDRESS: 2:'.l N. Hwy 27. Suite;, Clc:rmcm~ FL 3471 !                                                         Al.iDITOR: J..,kic Coyle                                                          B) C'.ontributions d.oi.: on all t:mployC(.:S. p::rtOr:ning covered wod;:
             C01'"f.'\CT: ~Mum
           PH Nli"MBER: 3S2-394-215S


           201S                                                                                                                                                Paychex Payroll
                                                                          P•y Period       Pay Pori~d
                                                                         W<d<. Ending    Week Eliding
           N>m<             SS Number            RFD                      01/lil-l/ll     01114-llJI                             MAR                   APR               MAY                      Jl.'L            ...uc               SEP                OCT                !)10V           DEC            TOTAL
ID>nids. Tl!DO~             595..;8-3"'31         ~            HOURS              8.00                                                                                              I                                                                                                                            8.00
                                                               WAGES
!F.nniicr. CI&an:nce        XXX-XX-XXXX I         B            HOURS             7200            56.00             -.;.50          J'7J..5D-              80.00                                                                                                                                                4:16.00
                                                               WAGES
                                            ....oo                                                                                                        ?o._:;o
~="-"="'----'-====-'--"---'~~='1---....:.:=+----==+---==+---==+----'-"=+-----··+l-----+-----+-----+-----+-----+-----+-----+--_::;.5?:.:''
IC-o""h. Sl<ven XXX-XX-XXXX B: HOURS '.2.00        1:57.00 21J9.00
                                                                                                                                         : :5.: . .j!l!
                                                               WAGES
Jta~Philli>               I 592-51>2421           B        i HOURS                                                 50.00           19:?   so              >:.00
                                                               WAGES
'"'"'"°" Richard             266-'.'7-3535   I    B            HOURS             80.00           80.00             80.00          200.00                  80.00                                                                                                                                                520.00
                                                               WAGES                                                                           I
IThom=- Ron:ild              2~..,-:"·B7     f    B            HOURS             41.00           o.<.00          134.00            m.so I                 37.00                                                                                                                                                468.SO
                                                               WAGES                                                                           i
                                             !TOTAL HOURS                      273.00           2'7.00           ~9$.SO           967_<;11:             304SO
                                             !TOTAL WAGES                s                                 s                                   !   s                                                                           IS                                                        s             !S         •      I

                                                                                                                                                                         Amouril-Due-

 PENSION
          FUNDS                RATES
                           S=-honr           I
                                                 7/U17 I
                                                  $4.28 I
                                                               911118
                                                                 $4~3    s    l.l68.44 $       1.142."C ! S     2.110. 0 4 I S   4.ldtl.!10 ":',:       l 303.26    s                   $    IS              IS                  s            -     s            -                   -   s         -   ,,    9.870.10
 FTI                       S"OeI"l:oar       I    ·so.10   I     SO.to   s       Z730    s       26.70 j s         49.55 s          96.75          s       30AS     s           -       s.   IS              IS                  s                  s                                    s             'S      230:;:s
 LMO                       S=hour            I    so 10 I        S0.10   s       Z730    s       20.:0 ! s         -49.55   s       %.~5           $      30 dS     ~'                  s    I$              Is                  s                   $                                   s             Is      230.75
 PAC                       Spcrbom           I    S0.05 I        S0.05   s       1365    $        ll.35 IS         21.?8    s        48.38         s      15.23     s                   $    lS              IS                  s                  s                   s                s             IS      1!5.39
                          ; TOTAL AJ\10l;J'IT DUE                        s    1.236.&9   s    1.209..SI Is     .z.z.u.&t    s    4,382.78          s   I.37llJ9     s                   s    !S           .. ·s            -     s                   s                               -   s         -   IS   10,452.99
                                                                                                Case 6:18-bk-00263-KSJ                                             Doc 92                  Filed 06/06/18       Page 49 of 50




 Il'PAT Industry Pension Fwid

                      EMPLOYER.: Exc:oletcch Coolings ;ind ,\pplicrtionl; LLC                                                              REViEWPER.IOD: J:mu"ry I.2015throu[!hAptil l',l018                  Reason. For Ddklt"DCY (RFI)):
                        ADDRESS: 221 N. Hwy r.Suirc I, ~'kmlon!, FL 34711                                                                       AUDITOR: Jadcio Coyle                                          BJ Contnburions d-.zc on all cruployces,, pccfonning covaed work
                        CONTACT: Lawi:cnc<Muzia
                      PH NUMBER: 352-394-2155


                      2018                                                                                                                                                Pavchex Pa,·roll
                                                                                        !";>)'Period         PoyPonod                                                          Otbt'I' P:dnrus:
                                                                                        Wtt&:En~~            WockEndln~
                      N,,_              SSNamb..-                 RFD                    01101-1113          . 01114-1131          FEB            MAR            APR               MAY.           JVN   .IUL        AUG              SEP              OCT              1-iOV          DEC   TOTAL
IA<!o:ns I•!fctY W                      OOM0-'.'721'               B      HOURS                 54.00                '~-o;o         161.0tl         198.00           80.00                                                                      I                                             572 50
                                                                          WAGES                                                                                                                                                                 I
IAndmon. Don.:lld R                 i   000--00-2270 I             B      HOURS                 46.00                50.00           '.'·1.50         loS.50         o..so                                                                                                                    '1;]9~

                                                                          WAGES
lr"""'bell. F.mart                      CJOO..OV..7043 I           B      HOURS                                                       16.00                                                                                                                      :                             16.00
                                                                          WAGES
lr.-"-1 Kevin                           XXX-XX-XXXX I              B      HOURS'                                                     24.00                                                                                                                                                     24.00
                                                                          WAGES
IFanandc:z.M=                           GOO-OO..x412               B      HOURS                                                      82.SO           141.25          ...00                                                                                                                    287.:'5
                                                                          WAGES
1l'<m>n<!C1'. R-. Ne!                   OOO-OO-x491                B      HOURS                                                                                      ID.DC                                                                                                                     10.00
                                                                          WAGES
tFonseca lnnrz. Gu                      C'l0-00-6325      l        B      HOL'RS                61.00                €'.00          JS0.00            199.00         80.00                                                                                                                    .563.00
                                                                          WAG!Oli
1F-omeca. Lo~ Mi                        000-00..3"1;? :            B      !:lOL'RS              6!.00                15.00           156;00           !14.00         72.00                                                                                                                    418..00
                                                                          WAGES
[;fons.:ca_ Monoz. C.uil H !; XXX-XX-XXXX •                        B      HOURS                 R9.00               15€.00     !    JROO               '.'2.00                                I                                                                                               431.00
                                                                          WAGES                          :                                                                                    I
(G<Jnz3b.Santillan, Hllnli 000.00..7945 '                          !l     HOull.S                        t                            >7.00           211.00          • •.SO                                                                                                                  395.SO
                                                                          WAGES                          I
·~ "i!iirtl":'m("I.   Jcseoh            OOC-00-9::34               B      HOURS                 so.so'               80.00           19650            237.00         90.SO                                                                                                                    68-;.50
                                                                          WAGES                                                                                                                                                                                                   I
Ir-....;, lnirut F                      001).00-225"'              B      HOURS                 oU!O                 :52.00          ISO.DO           !!IS.OD        70.00                                                                                                                    548.00
                                                                          W.'1.GES
IGonzala, Aurelio                       OOl)..00..';978            B      HOlJRS                '.0.00               lro.00          144.00           183.00         69.00                                                                                                        i           SlMO
                                                                          WAGES                                                                                                                                                                                                   I
limbo~ Matthew                          C00-00-6140                B    1 HOURS                 55.00                51.50           lll.00           183.50         36.00                                                                                                        I           438.00
                                                                          W.'l.GES
l Jo:ics. Jimmie                        000-00-'.0221              B       HOJ.,'il.S                                                !53.SO           221.00         ;4.50                                                                                                                    449.00
                                                                          WAGES
iM.:r=.!.uis                             $83-57-217:               !l   I HOURS                 49.00                                108.00           184.00         53.00                                                                                                                    394.00
                                                                          WAGES
!Mntthcws; Pzt:ick                      000-00-'m76           t    3        HOURS                S.00                  8.00          155.75           148.25         64,00                                                                                                                    384   oc
                                                                           WAGES
'IM•tthews, Sammv                       000--00-8304 j             B        HOURS                                     14.00                                                                                                                                                                     l·1.00
                                                                           WAGES
 !Melntosh; Komar                        000-00--03r          l    B       HOURS                75.00                 SS.SO              25.50                                                                                                                                                 166.00
                                                                           WAGES
 IMcl.<<><llenv                          000-00-5'10          i    B        HOURS               64.00                 '9.00          15.,,00          200.00         80.00                                                                                                                    .580.00
                                                                           W.\GES
 IMonteio M't<n""'I 0                    OOO--OC-2920              B        HOURS                53.00                64.00              64.00                                                                                                                                                181.00
                                                                           WAGES
 !Mvo:s.Da\id                            000-00-<i 14"             B        HOURS                75.00                .56.50         147.25            87.00          24.00                                                                                                                   389.~s

                                                                           WAGES                                                                                               I
 I0'1iz. Romon                           OOC-Oll-965~         I     B       HOU'RS               60.00                72.00          143.00           18400           61.50                                                                                                                   ~o.so
                                                                           WAGES
                                                                               Case 6:18-bk-00263-KSJ                                        Doc 92               Filed 06/06/18                  Page 50 of 50




 IUPAT Industry Pension Fund

                  EMPLOYER. Excel&ech CoatiJlgs.and Applic:itions LLC                                             REVlEW PER!OO- J:mu:uy l,2015 lhrouglt April 14. 2018                          Reason For Dendmc:T·CRJ."Dl:
                     ADDRESS: :?21 N. P.wy27.Suite ~ Clcmiorit, r;, 34?ll                                              AUDITOR: Jacl:ie Coyle                                                    EJ.) Contributions due on all c:ruployCC$ pecfomring e:>v::ccd w~k
                    CONTACT: I..awrcnce Muzia
                PH NUMBER: 3S1-39+21 SS


                 %011                                                                                                                             Paychex Payroll
                                                                       PayPmod             PayPC'l"lod
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                N:une.            SS Number          RFD               01/111-1/U           0111.f..l/ll    FEB              MAR            APR         MAY               Jl'N        Jl'L            .'\!"C            stl'             OCT               NOY            DEC        TOTAL
~Pete:c:!. Jr ............   R    oo~s·               B      HOURS                                             95.00                                                                                                                                                                    131.00
                                                             WAGES
}Po= Denick                       000.00-2882 i       a    I HOURS              72.00              b-10-l     160.00                                                                                                                                                                    m.oo
                                                           WAGES                                                                                                                                                                                                                i
1
 Pow-..11.Mari<S                  i;oo.oo.7) .;8 :   B  HO\,'RS                                               151.50            5500                               I                                                                                                            i       200.SO
                                                       WAGES                                                                                                       i                                                                                                            I
i &.mos Lluies L<o                XXX-XX-XXXX I      B HOURS                    .10.00             56.00      ?22.00                                                                                                                                                                    '!B.00
                                                       WAGES
IR0..0.JmnL                       OOO-OC-9333 I   B    HOURS                    SJ.OD              64.00      JlC.OQ                                                                                                                                                                    23".00
                                                       WAGES
ISmith. Gordon                    263-45-l54S I   B    ;!OURS·                  93.0-)             S4.00      200 00           250.00        100.00                                                                                                                                     ':37.CO
                                                       WAGES
                                              ITOTALBOURS                   J...18'.SQ·         1.lSS.00    J,28!1.00        5.477.50       1.250.50                                         j                                                                                       10,490.~0
                                              ITOTAL WACES      s                         ·s                            ·S              S        - IS         -    Is            'S              s               IS                 s.                                s         IS




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